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                                                                        1 Daniel A. Lev (CA Bar No. 129622)
                                                                           dlev@sulmeyerlaw.com
                                                                        2 SulmeyerKupetz
                                                                            A Professional Corporation
                                                                        3 333 South Grand Avenue, Suite 3400
                                                                          Los Angeles, California 90071-1406
                                                                        4 Telephone: 213.626.2311
                                                                          Facsimile: 213.629.4520
                                                                        5
                                                                          Ronald Richards (CA Bar No. 176246)
                                                                        6 ron@ronaldrichards.com
                                                                          Law Offices of Ronald Richards & Associates, APC
                                                                        7 P.O. Box 11480
                                                                          Beverly Hills, California 90213
                                                                        8 Telephone: 310.556.1001
                                                                          Facsimile: 310.277.3325
                                                                        9
                                                                          Attorneys for Shady Bird Lending, LLC
                                                                       10
   Professional Corporation




                                                                       11                                UNITED STATES BANKRUPTCY COURT
                              333 SOUTH GRAND AVENUE, SUITE 3400
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL. 213.626.2311 • FAX 213.629.4520




                                                                       12                   CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION

                                                                       13
                                                                            In re                                        Case No. 8:21-bk-10525-ES
                                                                       14
                                                                            THE SOURCE HOTEL, LLC,                       Chapter 11
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                                                                       15
                                                                                                                         SHADY BIRD LENDING LLC’S
                                                                       16                    Debtor.                     SUPPLEMENTAL STATEMENT RE (1)
                                                                                                                         MOTION OF SHADY BIRD LENDING,
                                                                       17                                                LLC FOR ORDER EXCUSING STATE
                                                                                                                         COURT RECEIVER FROM TURNOVER
                                                                       18                                                OF ASSETS PURSUANT TO 11 U.S.C. §
                                                                                                                         543, AND (2) MOTION FOR RELIEF
                                                                       19                                                FROM THE AUTOMATIC STAY UNDER
                                                                                                                         11 U.S.C. § 362 (WITH SUPPORTING
                                                                       20                                                DECLARATIONS) (REAL PROPERTY);
                                                                                                                         DECLARATIONS OF BELLANN R.
                                                                       21                                                RAILE AND ANDREW TROST IN
                                                                                                                         SUPPORT THEREOF
                                                                       22
                                                                                                                         DATE: June 3, 2021
                                                                       23                                                TIME: 2:00 p.m.
                                                                                                                         PLACE: Courtroom “5A”
                                                                       24

                                                                       25

                                                                       26

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                                                                       28


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                                                                        1                   Shady Bird Lending, LLC (“Shady Bird”), hereby submits “Shady Bird

                                                                        2 Lending LLC’s Supplemental Statement Re (1) Motion of Shady Bird Lending, LLC for

                                                                        3 Order Excusing State Court Receiver From Turnover of Assets Pursuant to 11 U.S.C. §

                                                                        4 543, and (2) Motion for Relief From the Automatic Stay Under 11 U.S.C. § 362 (with

                                                                        5 supporting declarations) (Real Property); Declarations of Bellann R. Raile and Andrew

                                                                        6 Trost in Support Thereof” (the “Supplemental Statement”), in support of its (i) “Motion of

                                                                        7 Shady Bird Lending, LLC for Order Excusing State Court Receiver From Turnover of

                                                                        8 Assets Pursuant to 11 U.S.C. § 543; Memorandum of Points and Authorities;

                                                                        9 Declarations of Ronald Richards, Bellann R. Raile, and Brent Little in Support Thereof”

                                                                       10 (the “Section 543 Motion”) and (ii) “Notice of Motion and Motion for Relief From the

                                                                       11 Automatic Stay Under 11 U.S.C. § 362 (with supporting declarations) (Real Property) (the
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                              333 SOUTH GRAND AVENUE, SUITE 3400
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL. 213.626.2311 • FAX 213.629.4520




                                                                       12 “Relief From Stay Motion”), and represents as follows:

                                                                       13                                                        I.

                                                                       14                                       PREFATORY STATEMENT

                                                                       15                   The Court continued the hearings on Shady Bird’s Section 543 Motion and
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                                                                       16 Relief From Stay Motion in order to track what progress, if any, the Debtor has made

                                                                       17 towards exiting this chapter 11 case and what measures the Receiver has undertaken to

                                                                       18 further stabilize the Project.1 As the Court will recall, it permitted the Receiver to remain

                                                                       19 in possession of the Project, on an interim basis, after Shady Bird elected to fund the

                                                                       20 estate with up to $200,000 in order to allow desperately needed repairs to be made.

                                                                       21 Shady Bird reached this decision because of its concern, which remains true today, that if

                                                                       22 control of the Project was returned to the Debtor and the Receiver was displaced, the

                                                                       23 Project would suffer further deterioration and diminution in value.

                                                                       24

                                                                       25   1
                                                                             Unless otherwise stated, the use of capitalized terms herein shall have the meaning ascribed in the
                                                                            “Motion of Shady Bird Lending, LLC for Order Excusing State Court Receiver From Turnover of Assets
                                                                       26   Pursuant to 11 U.S.C. § 543; Memorandum of Points and Authorities; Declarations of Ronald Richards,
                                                                            Bellann R. Raile, and Brent Little in Support Thereof” [Docket No. 51] and “Notice of Motion and Motion for
                                                                       27   Relief From the Automatic Stay Under 11 U.S.C. § 362 (with supporting declarations) (Real Property)
                                                                            [Docket No. 62].
                                                                       28


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                                                                        1                   As such, the Court specifically asked Shady Bird and the Receiver to

                                                                        2 provide evidence demonstrating that the Receiver has been doing more than just baby-

                                                                        3 sitting the Project. This Supplemental Statement addresses the Court’s concerns and

                                                                        4 sets forth the steps being taken and the funds expended to remediate serious issues of

                                                                        5 neglect identified by the Receiver. After review, the Court surely will conclude that under

                                                                        6 no circumstances should the Receiver be removed pending Shady Bird’s request for

                                                                        7 relief from stay. The Debtor has offered nothing in the way of funds or expenditures to

                                                                        8 manage or stabilize the Project, and it has yet to show it has any ability to complete the

                                                                        9 Project which would cost the Debtor upwards of $20,000,000.

                                                                       10                                                 II.

                                                                       11    ABSENT RELIEF FROM STAY, THE RECEIVER MUST REMAIN IN CONTROL AND
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                                                                       12                                 POSSESSION OF THE PROJECT
                                                                       13                   As a reminder, on April 28, 2021, the Court entered its “Order, After
                                                                       14 Hearing, Granting, On An Interim Basis, Motion of Shady Bird Lending, LLC for Order

                                                                       15 Excusing State Court Receiver From Turnover of Assets Pursuant to 11 U.S.C. § 543”
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                                                                       16 (the “Section 543 Order”) [Docket No. 99]. According to the Section 543 Order, during

                                                                       17 the interim period of the Receiver’s continued possession of the Project, and in in

                                                                       18 addition to the powers granted to the Receiver pursuant to the “Ex Parte Order

                                                                       19 Appointing Receiver and Order to Show Cause” entered on February 17, 2021 (the

                                                                       20 “Receivership Order”), Shady Bird was authorized to advance an amount no greater than

                                                                       21 $200,000 (the “Gifted Advance”) to the Receiver to be used to remediate, repair, and fix

                                                                       22 problems with the Project.

                                                                       23                   As part of the Section 543 Order, the Receiver agreed to provide written

                                                                       24 notice by e-mail to the Debtor’s counsel within forty-eight hours after acceptance of any

                                                                       25 bid or proposal by the Receiver for repairs or work to be done on the Project (with copies

                                                                       26 of such accepted bids and/or proposals), and to provide written notice within two

                                                                       27 business days following the completion of any repairs or work done on the Project by any

                                                                       28 vendor or contractor. The Receiver also agreed to provide the Debtor with access to the


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                                                                        1 Project following written (e-mail) notice by the Debtor and/or its counsel to both the

                                                                        2 Receiver and counsel for Shady Bird, which access was to be provided by the Receiver

                                                                        3 as reasonably requested but in no event later than forty-eight hours after the delivery of

                                                                        4 such written e-mail notice.

                                                                        5                     Both the Receiver and Shady Bird have complied with the terms and

                                                                        6 conditions of the Section 543 Order.2 With respect to advances, the Receiver received

                                                                        7 an initial advance of $31,784.95 from Shady Bird on March 8, 2021, followed by a

                                                                        8 subsequent advance of $63,305.82 on May 6. The initial disbursements made by the

                                                                        9 Receiver for various items totaled $58,234.08, after which the Receiver determined that

                                                                       10 an additional $118,047.38 in expenses would need to be paid during the initial interim

                                                                       11 period. After subtracting the initial expenses from the first two advances, this left a
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                                                                       12 balance of $36,856.69, however, once the additional $118,047.08 was factored into the

                                                                       13 equation, this left a deficit of $81,190.69, which Shady Bird has agreed to advance prior

                                                                       14 to the hearing.3 See declaration of Bellann R. Raile, affixed hereto.

                                                                       15                     Specifically, the Receiver’s first course of action was not only to identify the
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                                                                       16 most important items to complete to ensure the health and safety of the Project, but also

                                                                       17 to consider what could be done within budget and the short timeframe for work to be

                                                                       18 completed. In consultation with various parties, the Receiver developed the following

                                                                       19 working list:

                                                                       20                     •       Fire Sprinkler Protection - Investigate what was necessary to secure

                                                                       21 the Project at all levels.

                                                                       22                     •       Freight Elevator - Schedule an inspection by KONE, an engineering

                                                                       23 company specializing in elevator engineering, to determine the safety of the system and

                                                                       24

                                                                       25   2
                                                                              In addition, on at least four occasions, the Debtor requested that access to the Project be permitted to
                                                                            allow potential investors to inspect the property. Each time, the Receiver consented to the request, and
                                                                       26   unfettered access to the Project was granted to the Debtor and its representatives during the initial interim
                                                                            period.
                                                                       27   3
                                                                                This amount does not include any of the Receiver’s fees or her expenses, including attorney’s fees.
                                                                       28


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                                                                        1 to make any necessary repairs, and thereafter have the state elevator inspector approve

                                                                        2 the elevator for temporary use.

                                                                        3                   •      Roof Leaks - Repair roof leaks on both roof levels.

                                                                        4                   •      Temporary Closures - Provide temporary closure at all 4th Floor

                                                                        5 openings leading to the exterior side of the Project where doors are not installed.

                                                                        6                   •      Mold - Perform a moisture and mold test to confirm mold damage as

                                                                        7 well as secure a proposal to understand the costs associated with mold removal and

                                                                        8 thereafter undertake the necessary remediation and repairs.

                                                                        9                   •      Pool Deck and Roof Deck - Secure both areas from adjacent

                                                                       10 property, if possible.

                                                                       11                   •      Sewer - Continue to investigate sewer smell and make necessary
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                                                                       12 field repairs.

                                                                       13                   •      Rooftop Mechanical Equipment - Investigate the structural

                                                                       14 requirements regarding the mechanical equipment and duct work at both roof levels and

                                                                       15 complete proper anchoring.
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                                                                       16                   •      Replace Broken Windows - Replace two broken windows and the

                                                                       17 glass adjacent to the doorway in the front of the Project.

                                                                       18                   •      Pool Deck - Remove damaged plastic tarps and secure damaged

                                                                       19 deck, if possible.

                                                                       20                   •      Pool - Confirm and implement the necessary protective measures for

                                                                       21 pool safety.

                                                                       22                   •      Temp Power - Confirm where power is coming from that supports the

                                                                       23 Project’s temporary lighting.

                                                                       24                   •      Coupon Samples - Obtain samples from the exiting water lines to

                                                                       25 understand if there is any corrosion and if any action items are required to repair

                                                                       26 identified damage.

                                                                       27                   •      Carpet Protection - Provide protective plastic membrane over

                                                                       28 carpeted floors in all hotel rooms.


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                                                                        1                   These itemized areas of concern were provided to the City of Buena Park

                                                                        2 (the “City”) for comments. After receipt, the City requested a walkthrough of the Project.

                                                                        3 For the most part, and as noted in both the Section 543 Motion and the Relief From Stay

                                                                        4 Motion, the majority of building permits are no longer active and the Receiver needed to

                                                                        5 verify that the work being completed was not going to require reactivation of the existing

                                                                        6 building permits.

                                                                        7                   On April 21, 2021, the Receiver attended an inspection with the City and its

                                                                        8 representatives. This meeting allowed the Receiver to understand the City’s perspective

                                                                        9 and its separate list of concerns which needed to be addressed. For example, one of the

                                                                       10 City’s representatives pointed out that there were additional windows that did not appear

                                                                       11 to be broken but, in fact, had one pane broken. This made the window unstable since
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                                                                       12 they are designed to have two panes present. The City also pointed out that the

                                                                       13 balconies on the 7th Floor were unfinished and had boards and debris covering the upper

                                                                       14 portion that could be hazardous. These items were then added to the Receiver’s initial

                                                                       15 list of tasks to be completed. At this meeting, it was further determined that the scope of
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                                                                       16 work anticipated would not require reactivation of the expired permits.

                                                                       17                   On April 21, the Receiver also met with a representative of Salamander Fire
                                                                       18 Protection to inspect the Project’s fire and safety components and to obtain a proposal to

                                                                       19 complete the fire sprinkler system. In this meeting, the Receiver learned that although

                                                                       20 they could complete the sprinkler system, without all the smoke detectors and controllers

                                                                       21 being installed, and all the drywall in place and completed, the existing system could not

                                                                       22 function properly. Given the state of the construction, the Receiver determined that it

                                                                       23 was beyond the scope of a temporary safe-off.

                                                                       24                   The Receiver then contacted the Orange County Fire Authority (the “O.C.

                                                                       25 Fire Authority”) to discuss what would be required to maintain the Project in a safe

                                                                       26 condition. A representative from the O.C. Fire Authority and the Receiver conducted a

                                                                       27 walkthrough of the Project on May 4, 2021. Once on site, the O.C. Fire Authority also

                                                                       28 requested to see the 3rd Floor which is not part of the hotel. The Receiver then contacted


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                                                                        1 the Debtor who provided a representative to allow this portion of the Project to be

                                                                        2 inspected by the O.C. Fire Authority.

                                                                        3                   During the May 4 inspection, the Receiver advised the O.C. Fire Authority

                                                                        4 that she had received a proposal from a contractor to install temporary doors, but that

                                                                        5 they were not fire rated. The inspectors said that it would be acceptable to use the

                                                                        6 temporary doors since it would not make a big difference considering the stage of the

                                                                        7 Project’s construction. The O.C. Fire Authority then requested that the locks on the fire

                                                                        8 escapes be rekeyed to Orange County standards as they believed that they were set for

                                                                        9 Anaheim standards. A locksmith was retained by the Receiver to accomplish this

                                                                       10 requested repair. The O.C. Fire Authority concluded by stating that since there were

                                                                       11 guards on site, no further action would need to be taken at this time.
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                                                                       12                   With respect to the freight/service elevator, the Receiver determined that

                                                                       13 the elevator’s certification had expired in December 2018. Since a working freight

                                                                       14 elevator is necessary to effectively reach all the floors on site, obtaining clearance to

                                                                       15 ensure that the elevator can be accessed became an issue of paramount importance to
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                                                                       16 the Receiver. This is especially true since the 3rd Floor of the Project is not part of the

                                                                       17 hotel and the only stair access to all the floors of the hotel are through a fire escape

                                                                       18 stairway.

                                                                       19                   As mentioned earlier, the Receiver retained KONE, a company specializing

                                                                       20 in elevator engineering, to conduct an initial inspection of the elevator, which inspection

                                                                       21 took place on May 4, 2021. KONE noted that the elevator was generally in running

                                                                       22 condition, but not all of the required lighting for the elevator lobbies was operational.

                                                                       23 There also was a non-functioning light in the pit of the elevator which needed to be

                                                                       24 replaced. KONE requested that the Receiver purchase eight walkie-talkies and indicated

                                                                       25 that they would provide signage and training on the elevator’s usage. KONE indicated

                                                                       26 that they would also provide a proposal to maintain the system and to obtain certification

                                                                       27 for temporary usage, and that it would take approximately eight hours to complete the

                                                                       28 inspection and clean-up of the elevator. KONE then agreed to meet with the Receiver


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                                                                        1 and the state for certification. Since KONE expressed concern about past due balances

                                                                        2 owed, the Receiver is awaiting completion of this aspect of her repair checklist.

                                                                        3                   During the initial interim period, the Receiver also has documented further

                                                                        4 work which needs to be done to correct the electrical issues related to the Project’s

                                                                        5 lighting systems. The Receiver has communicated with the Debtor and its counsel

                                                                        6 regarding the scope of this work. In this regard, the Receiver has requested information

                                                                        7 related to how the power comes into the Project since it appears that the majority of the

                                                                        8 power is coming in from the retail center space. The elevator itself appears to be on

                                                                        9 separate power. To date, the Receiver has not received a response from the Debtor.

                                                                       10                   Prior to the hearing on the Section 543 Motion, the Receiver retained DC

                                                                       11 Mechanical to cover the roof curb openings and ducting/ductwork openings on the roof
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                                                                       12 that could be causing leaks or damage to the HVAC systems. On April 14, 2021, the

                                                                       13 Receiver met with a roofing contractor regarding leaks that were discovered in some of

                                                                       14 the rooms on the 7th Floor. The Receiver was advised of the source of the leaks, but did

                                                                       15 not receive a proposal for the repair work at the initial meeting. The Receiver followed up
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                                                                       16 and also requested that the proposal include repairs to the Project’s balcony caps, as first

                                                                       17 raised by the City. The Receiver was then provided a proposal which was reviewed and

                                                                       18 accepted by the relevant parties, with work to be completed by the middle of May.

                                                                       19                   As mentioned previously, the 4th Floor had several doors that were not

                                                                       20 installed. This raised serious concerns about access into the Project by vagrants and/or

                                                                       21 pests. The Receiver received a proposal to provide the necessary repairs which was

                                                                       22 reviewed and accepted by the relevant parties, and the work is expected to be completed

                                                                       23 by the middle of May.

                                                                       24                   Given the various signs of leaks in the rooms, it was important for the

                                                                       25 Receiver to determine if there was a mold issue so it could be addressed immediately to

                                                                       26 avoid further damage to the Project. The Receiver retained American Integrated

                                                                       27 Resources, Inc. to investigate moisture intrusion into the building. A proposal for

                                                                       28 remediation was provided to the parties and the work was completed during the week of


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                                                                        1 May 10, 2021. The report from this work indicated there are currently no moisture issues,

                                                                        2 but recommended a mold and indoor air quality inspection because the Project’s

                                                                        3 temporal exposure to the elements suggests past water intrusion. As a result, the

                                                                        4 Receiver plans to obtain a proposal to test for mold.

                                                                        5                   Prior to the hearing on the Section 543 Motion, the Receiver also retained a

                                                                        6 plumber to address the sewer smell issue. In order to flush out the system, water was

                                                                        7 placed down all open drains that were available to add water to the p-traps. There were

                                                                        8 openings that also were covered, which helped the situation but did not totally correct the

                                                                        9 issues. The Receiver was alerted to the fire sprinkler system drain that could be a

                                                                       10 problem and water was placed in that p-trap as well. This again helped, but did not

                                                                       11 totally correct the situation. As such, the Receiver has received a proposal to cap the
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                                                                       12 sewer and have sent the proposal to the City for review. The City also expressed

                                                                       13 concerns since the hotel and retail center share sewer lines. Accordingly, the Receiver

                                                                       14 intends to continue adding water to the drains. Additionally, the contractor addressing

                                                                       15 the rooftop mechanical equipment issues will cover select drains where possible and this
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                                                                       16 work is included in that proposal. The Receiver will determine if this work can be

                                                                       17 accomplished given the current status of the unexpired permits.

                                                                       18                   With respect to the Project’s rooftop mechanical equipment, the Receiver

                                                                       19 obtained a proposal that includes anchoring the HVAC equipment that is not currently

                                                                       20 anchored on the 4th Floor roof. The contractor is able to start this work the week of May

                                                                       21 17, 2021.

                                                                       22                   Prior to the hearing on the Section 543 Motion, the Receiver received two

                                                                       23 proposals to replace the Project’s numerous broken windows. The Receiver was

                                                                       24 concerned with aspects of each proposal and, as a result, obtained a third proposal. The

                                                                       25 third proposed contractor was asked to include the broken windows that the only had one

                                                                       26 pane broken as well. This proposal was provided to the parties and accepted, and the

                                                                       27 replacement windows have been ordered.

                                                                       28


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                                                                        1                   As noted in both the Relief From Stay Motion and the Section 543 Motion,

                                                                        2 after her appointment the Receiver engaged Urban Advisory and Building Group, LLC

                                                                        3 (“Urban Advisory”) to provide a report of the current physical condition of the Project.

                                                                        4 Urban Advisory advised the Receiver that it believed the pool deck coating had already

                                                                        5 been damaged and that further efforts to save the coating would not be effective.

                                                                        6                   As such, the Receiver contacted a pool deck contractor who further

                                                                        7 elaborated that covering the deck with plastic would protect the pool deck from the sun,

                                                                        8 but it would hold rainwater and could cause damage. The contractor stated that the

                                                                        9 Receiver should consider the coating a “sacrificial coating” and when construction

                                                                       10 resumed a fresh coat could be applied on top of the damaged coating. The Receiver

                                                                       11 also learned that there was noticeable pooling in some areas of the deck that would likely
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                                                                       12 require re-coating. In addition, the Receiver was advised that since the deck is located in

                                                                       13 an extremely windy area, the plastic poses a safety risk by blowing off of the Project. To

                                                                       14 reduce this risk, the Receiver has retained a laborer to fold up and move the plastic tarps

                                                                       15 to storage. This work is scheduled to be completed by the middle of May.
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                                                                       16                   After investigation, the Receiver also learned that keeping the pool free of

                                                                       17 water is all that needs to be done at this time. Finally, the Receiver remains in the

                                                                       18 process of obtaining proposals for temp power, and carpet protection, as alluded to

                                                                       19 earlier.

                                                                       20                   Compounding the problems with the Project, it was recently determined by

                                                                       21 Carine Consulting (“Carine”), one of the Receiver’s consultants, that problems with the

                                                                       22 Project’s power and low voltage existed as far back as 2018, further evidencing the

                                                                       23 irresponsible methods implemented by the Debtor in its build out of the Project.

                                                                       24 Specifically, Enterprise Level Technology Solutions (“ELTS”) was brought onto the

                                                                       25 Project in August 2018 as the low voltage project manager.

                                                                       26                   ELTS’s roles included (i) reviewing current plans and drawings, (ii)

                                                                       27 overseeing the phone equipment installation by Newgens, Inc. (“Newgens”), (iii)

                                                                       28 technology procurement, (iv) internet circuit procurement and contracts, (v) guest HSIA


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                                                                        1 vendor quotes and management, (vi) guestroom entertainment vendor quotes and

                                                                        2 management, (vii) phone system vendor quotes and management, and (viii) due

                                                                        3 diligence of existing plans and manage technology construction. After reviewing some of

                                                                        4 the proposals which were already going forward, ELTS discovered that (i) the phone

                                                                        5 equipment being sold to the Project by Newgens was old phone equipment which had

                                                                        6 reached end of life at that time (support was ending) for what ELTS considered to be an

                                                                        7 egregious amount, (ii) the phone equipment did not have call accounting or voicemail

                                                                        8 integration, and the Wi-Fi was not approved by Hilton Hotels, (iii) the cabling proposal did

                                                                        9 not have a certification phase (where each cable run would need to have higher level of

                                                                       10 testing instead of just continuity), and (iv) after securing quotes for the vendor contracts,

                                                                       11 ELTS was able to find much newer equipment for a lower price than provided by
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                                                                       12 Newgens, which recommendation was rejected. Shortly thereafter, ELTS was pulled off

                                                                       13 of the Project.

                                                                       14                   A summary of ELTS’s findings are integrated in the Preconstruction Phase

                                                                       15 2A Progress Report (the “Phase 2A Report”) dated May 20, 2021, prepared by Carine.
SulmeyerKupetz, A




                                                                       16 The report prepared by Carine also sets forth in great detail the remedial measures which

                                                                       17 need to be taken in the short term to stabilize and repair the Project. A true and correct

                                                                       18 copy of the Phase 2A Report is attached hereto as Exhibit “A” to the declaration of

                                                                       19 Andrew Trost, affixed hereto.

                                                                       20                   Separate and apart from the remedial steps which have been and remain to

                                                                       21 be taken by the Receiver, with the sole financial assistance of Shady Bird, the City sent a

                                                                       22 letter to the parties on May 14, 2021, underscoring its serious concerns with the Project’s

                                                                       23 future. A true and correct copy of the May 14, 2021, letter is attached hereto as Exhibit

                                                                       24 “B” and incorporated herein by reference. According to the City, the Project and the

                                                                       25 property are both governed by a series of agreements with the City or the former

                                                                       26 Community Redevelopment Agency of the City of Buena Park (“Former RDA”), the most

                                                                       27 notable of which is that certain Disposition and Development Agreement (“DDA”) dated

                                                                       28


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                                                                        1 October 26, 2010, by and between the Former RDA and The Source at Beach, LLC (the

                                                                        2 “Developer”).

                                                                        3                   The DDA required Developer to proceed with construction and operation of

                                                                        4 the Project, which was required to include a high-quality (Mobil 3-5 Star or AAA 2-5

                                                                        5 Diamond-voted) full-service Hotel Project. To support and incentivize completion of the

                                                                        6 Project, the Former RDA agreed to provide two forms of financial assistance to

                                                                        7 Developer that are memorialized in the DDA: (i) a portion of the increased property tax

                                                                        8 revenues resulting from reassessment of the Property following completion of the Project

                                                                        9 (also known as “tax increment” revenues); and (ii) a portion of sales tax revenues

                                                                       10 generated by the Debtor (jointly “Financial Assistance”). The DDA directs the property tax

                                                                       11 payments to be remitted to Developer annually for the next decade; with the sales tax
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                                                                       12 assistance lasting even longer.

                                                                       13                   However, due to the pre-petition actions taken by Shady Bird, resulting in

                                                                       14 the Receiver’s appointment, as well as the Debtor’s subsequent chapter 11 filing, the City

                                                                       15 (which now also serves as “successor agency” to the Former RDA) has determined that
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                                                                       16 these events justify early termination of this Financial Assistance, and in fact the DDA

                                                                       17 altogether.

                                                                       18                   In light of the Receiver’s appointment and the chapter 11 filing, and given

                                                                       19 the unknown future of the Project, the City’s May 14 letter provided the Debtor and

                                                                       20 Developer notice that it intends to withhold all future Financial Assistance payments that

                                                                       21 otherwise might be paid Developer under the DDA unless and until: (i) Developer cures

                                                                       22 these defaults and proceeds with construction of the Hotel Project to the City’s

                                                                       23 reasonable satisfaction, in which case the withheld and future Financial Assistance

                                                                       24 payments might be released on terms acceptable to the City; or (ii) the City declares

                                                                       25 formal default of the DDA and terminates the Financial Assistance, in which case neither

                                                                       26 the withheld nor future payments will be remitted to Developer. According to the City, the

                                                                       27 Financial Assistance payments will be held in an interest-bearing escrow account

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                                                                        1 established and managed by the City pending a decision on if or how such funds will be

                                                                        2 remitted, if ever.

                                                                        3                   This letter, when read in conjunction with the serious issues discovered by

                                                                        4 the Receiver before and during the initial interim period, further supports a finding of

                                                                        5 “cause” justifying either relief from stay under section 362(d)(1) or the Receiver’s

                                                                        6 continued possession and control over the Project.

                                                                        7                   There is a mountain of irrefutable evidence showing that, due its current

                                                                        8 neglected and dilapidated state, there is at least a threatened decline in value, such that

                                                                        9 relief from stay for “cause” is warranted at this time under section 362(d)(1). The

                                                                       10 uncontroverted evidence demonstrates that the Project has suffered dramatically during

                                                                       11 the Debtor’s ownership and but for the Receiver’s appointment and Shady Bird’s financial
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                                                                       12 commitment, it would only continue to deteriorate and diminish in value. The Debtor

                                                                       13 admittedly lacks the ability to cure the existing loan default or service Shady Bird’s debt,

                                                                       14 and it has no ability to restart, let alone complete, construction, which could cost at least

                                                                       15 $20 million to finish. Importantly, it is only due to Shady Bird’s advances that the
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                                                                       16 Receiver is able to bring any sense of stability to the Project.

                                                                       17                   As a result, Shady Bird requests that relief from stay be granted under

                                                                       18 section 362(d)(1). Alternatively, either the Section 543 Motion should be granted or, at a

                                                                       19 minimum, the Court should keep the Section 543 Order in place for at least another 60-

                                                                       20 90 days, on the same terms and conditions as presently codified in the order, until such

                                                                       21 time as the Debtor (i) obtains an order authorizing DIP financing, or a sale of the Project,

                                                                       22 in an amount to pay off Shady Bird’s debt, in full, or (ii) files a plan of reorganization that

                                                                       23 the Court has determined has a reasonable possibility of being confirmed with a

                                                                       24 reasonable time.

                                                                       25                   Even if relief from stay is granted, the Debtor can always seek to reimpose

                                                                       26 the stay in the event it is quickly able to conjure up a sale or refinancing transaction. But

                                                                       27 this Court can no longer hold Shady Bird at bay based on nothing more that the

                                                                       28


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                                                                        1 continued assurances - backed by no admissible evidence - that a refinance, sale, or

                                                                        2 confirmable plan is in prospect.

                                                                        3                                                 III.

                                                                        4                                          CONCLUSION

                                                                        5                   Based on the foregoing, Shady Bird respectfully requests that the Relief

                                                                        6 From Stay Motion be granted in all respects, or, in the alternative, that the Section 543

                                                                        7 Motion be granted in all respects or granted on a further interim basis, and for such other

                                                                        8 and further relief as the Court deems just and proper under the circumstances.

                                                                        9 DATED: May 20, 2021                       SulmeyerKupetz
                                                                                                                    A Professional Corporation
                                                                       10

                                                                       11
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                                                                       12                                           By: /s/ Daniel A. Lev        _________________
                                                                                                                        Daniel A. Lev
                                                                       13                                               Attorneys for Shady Bird Lending, LLC
                                                                       14 DATED: May 20, 2021                       Law Offices of Ronald Richards & Associates, APC
                                                                       15
SulmeyerKupetz, A




                                                                       16
                                                                                                                    By: /s/ Ronald Richards      _________________
                                                                       17                                               Ronald Richards
                                                                                                                        Attorneys for Shady Bird Lending, LLC
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                                                                        1                             DECLARATION OF BELLANN R. RAILE

                                                                        2                   I, Bellann R. Raile, declare and state as follows:

                                                                        3                   1.     I am over the age of eighteen, am a managing director of Cordes

                                                                        4 and Company, LLC (“Cordes”), and am the duly appointed, qualified, and acting state

                                                                        5 court receiver for the real property bearing APN Nos. 276-361-20 and 276-361-22,

                                                                        6 consisting of a partially constructed 178-room, seven story hotel building located in

                                                                        7 Buena Park, California (the “Project”) owned by the debtor The Source Hotel, LLC (the

                                                                        8 “Debtor”). The facts stated herein are true of my own personal knowledge and I could

                                                                        9 and would competently testify thereto as follows.

                                                                       10                   2.     I make this declaration in support of “Shady Bird Lending LLC’s

                                                                       11 Supplemental Statement Re (1) Motion of Shady Bird Lending, LLC for Order Excusing
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                                                                       12 State Court Receiver From Turnover of Assets Pursuant to 11 U.S.C. § 543, and (2)

                                                                       13 Motion for Relief From the Automatic Stay Under 11 U.S.C. § 362 (with supporting

                                                                       14 declarations) (Real Property); Declarations of Bellann R. Raile and Andrew Trost in

                                                                       15 Support Thereof” (the “Supplemental Statement”).
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                                                                       16                   3.     I am aware that on April 28, 2021, the Court entered its “Order, After

                                                                       17 Hearing, Granting, On An Interim Basis, Motion of Shady Bird Lending, LLC for Order

                                                                       18 Excusing State Court Receiver From Turnover of Assets Pursuant to 11 U.S.C. § 543”

                                                                       19 (the “Section 543 Order”) [Docket No. 99]. According to the Section 543 Order, during

                                                                       20 the interim period of my continued possession of the Project, and in in addition to the

                                                                       21 powers granted to the Receiver pursuant to the “Ex Parte Order Appointing Receiver and

                                                                       22 Order to Show Cause” entered on February 17, 2021 (the “Receivership Order”), Shady

                                                                       23 Bird was authorized to advance an amount no greater than $200,000 (the “Gifted

                                                                       24 Advance”) to me to be used to remediate, repair, and fix issues at the Project.

                                                                       25                   4.     As part of the Section 543 Order, I also agreed to provide written

                                                                       26 notice by e-mail to the Debtor’s counsel within forty-eight hours after acceptance of any

                                                                       27 bid or proposal by me for repairs or work to be done on the Project (with copies of such

                                                                       28 accepted bids and/or proposals), and to provide written notice within two business days


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                                                                        1 following the completion of any repairs or work done on the Project by any vendor or

                                                                        2 contractor. I further agreed to provide the Debtor with access to the Project following

                                                                        3 written (e-mail) notice by the Debtor and/or its counsel to both me and counsel for Shady

                                                                        4 Bird, which access was to be provided by me as reasonably requested but in no event

                                                                        5 later than forty-eight hours after the delivery of such written e-mail notice.

                                                                        6                   5.   At all times, I have complied with the terms and conditions of the

                                                                        7 Section 543 Order. With respect to advances, I received an initial advance of $31,784.95

                                                                        8 from Shady Bird on March 8, 2021, followed by a subsequent advance of $63,305.82 on

                                                                        9 May 6. The initial disbursements made by me for various items totaled $58,234.08, after

                                                                       10 which I determined that an additional $118,047.38 in expenses would need to be paid

                                                                       11 during the initial interim period. After subtracting the initial expenses from the first two
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                                                                       12 advances, this left a balance of $36,856.69, however, once the additional $118,047.08

                                                                       13 was factored into the equation, this left a deficit of $81,190.69, which Shady Bird has

                                                                       14 agreed to advance to me. This amount does not include any of the receiver’s fees or

                                                                       15 expenses, including attorney’s fees.
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                                                                       16                   6.   Specifically, upon my appointment, my first course of action was not

                                                                       17 only to identify the most important items to complete to ensure the health and safety of

                                                                       18 the Project, but also to consider what could be done within budget and the short

                                                                       19 timeframe for work to be completed. In consultation with various parties, I developed the

                                                                       20 following working list:

                                                                       21                   •    Fire Sprinkler Protection - Investigate what was necessary to secure

                                                                       22 the Project at all levels.

                                                                       23                   •    Freight Elevator - Schedule an inspection by KONE, an engineering

                                                                       24 company specializing in elevator engineering, to determine the safety of the system and

                                                                       25 to make any necessary repairs, and thereafter have the state elevator inspector approve

                                                                       26 the elevator for temporary use.

                                                                       27                   •    Roof Leaks - Repair roof leaks on both roof levels.

                                                                       28


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                                                                        1                   •      Temporary Closures - Provide temporary closure at all 4th Floor

                                                                        2 openings leading to the exterior side of the Project where doors are not installed.

                                                                        3                   •      Mold - Perform a moisture and mold test to confirm mold damage as

                                                                        4 well as secure a proposal to understand the costs associated with mold removal and

                                                                        5 thereafter undertake the necessary remediation and repairs.

                                                                        6                   •      Pool Deck and Roof Deck - Secure both areas from adjacent

                                                                        7 property, if possible.

                                                                        8                   •      Sewer - Continue to investigate sewer smell and make necessary

                                                                        9 field repairs.

                                                                       10                   •      Rooftop Mechanical Equipment - Investigate the structural

                                                                       11 requirements regarding the mechanical equipment and duct work at both roof levels and
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                                                                       12 complete proper anchoring.

                                                                       13                   •      Replace Broken Windows - Replace two broken windows and the

                                                                       14 glass adjacent to the doorway in the front of the Project.

                                                                       15                   •      Pool Deck - Remove damaged plastic tarps and secure damaged
SulmeyerKupetz, A




                                                                       16 deck, if possible.

                                                                       17                   •      Pool - Confirm and implement the necessary protective measures for

                                                                       18 pool safety.

                                                                       19                   •      Temp Power - Confirm where power is coming from that supports the

                                                                       20 Project’s temporary lighting.

                                                                       21                   •      Coupon Samples - Obtain samples from the exiting water lines to

                                                                       22 understand if there is any corrosion and if any action items are required to repair

                                                                       23 identified damage.

                                                                       24                   •      Carpet Protection - Provide protective plastic membrane over

                                                                       25 carpeted floors in all hotel rooms.

                                                                       26                   7.     These itemized areas of concern were provided by me to the City of

                                                                       27 Buena Park (the “City”) for comments. After receipt, the City requested a walkthrough of

                                                                       28 the Project. For the most part, and as noted in both the Section 543 Motion and the


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                                                                        1 Relief From Stay Motion filed by Shady Bird, the majority of building permits are no

                                                                        2 longer active and I needed to verify that the work being completed was not going to

                                                                        3 require reactivation of the existing building permits.

                                                                        4                   8.    On April 21, 2021, I attended an inspection with the City and its

                                                                        5 representatives. This meeting allowed me to understand the City’s perspective and its

                                                                        6 separate list of concerns which needed to be addressed. For example, one of the City’s

                                                                        7 representatives pointed out that there were additional windows that did not appear to be

                                                                        8 broken but, in fact, had one pane broken. This made the window unstable since they are

                                                                        9 designed to have two panes present. The City also pointed out that the balconies on the

                                                                       10 7th Floor were unfinished and had boards and debris covering the upper portion that

                                                                       11 could be hazardous. These items were then added to my initial list of tasks to be
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                                                                       12 completed. At this meeting, it was further determined that the scope of work anticipated

                                                                       13 would not require reactivation of the expired permits.

                                                                       14                   9.    On April 21, 2021, I also met with a representative of Salamander
                                                                       15 Fire Protection to inspect the Project’s fire and safety components and to obtain a
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                                                                       16 proposal to complete the fire sprinkler system. In this meeting, I learned that although

                                                                       17 they could complete the sprinkler system, without all the smoke detectors and controllers

                                                                       18 being installed, and all the drywall in place and completed, the existing system could not

                                                                       19 function properly. Given the state of the construction, I determined that it was beyond the

                                                                       20 scope of a temporary safe-off.

                                                                       21                   10.   I then contacted the Orange County Fire Authority (the “O.C. Fire

                                                                       22 Authority”) to discuss what would be required to maintain the Project in a safe condition.

                                                                       23 A representative from the O.C. Fire Authority and I conducted a walkthrough of the

                                                                       24 Project on May 4, 2021. Once on site, the O.C. Fire Authority also requested to see the

                                                                       25 3rd Floor which is not part of the hotel. I then contacted the Debtor who provided a

                                                                       26 representative to allow this portion of the Project to be inspected by the O.C. Fire

                                                                       27 Authority.

                                                                       28


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                                                                        1                   11.   During the May 4, 2021, inspection, I advised the O.C. Fire Authority

                                                                        2 that I had received a proposal from a contractor to install temporary doors, but that they

                                                                        3 were not fire rated. The inspectors advised me that it would be acceptable to use the

                                                                        4 temporary doors since it would not make a big difference considering the stage of the

                                                                        5 Project’s construction. The O.C. Fire Authority then requested that the locks on the fire

                                                                        6 escapes be rekeyed to Orange County standards as they believed that they were set for

                                                                        7 Anaheim standards. I then retained a locksmith to accomplish this requested repair. The

                                                                        8 O.C. Fire Authority concluded by advising me that since there were guards on site, no

                                                                        9 further action would need to be taken at this time.

                                                                       10                   12.   With respect to the freight/service elevator, I independently

                                                                       11 determined that the elevator’s certification had expired in December 2018. Since a
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                                                                       12 working freight elevator is necessary to effectively reach all the floors on site, obtaining

                                                                       13 clearance to ensure that the elevator can be accessed became an issue of paramount

                                                                       14 importance to me. This is especially true since the 3rd Floor of the Project is not part of

                                                                       15 the hotel and the only stair access to all the floors of the hotel are through a fire escape
SulmeyerKupetz, A




                                                                       16 stairway.

                                                                       17                   13.   As mentioned earlier, I retained KONE, a company specializing in
                                                                       18 elevator engineering, to conduct an initial inspection of the elevator, which inspection

                                                                       19 took place on May 4, 2021. KONE noted that the elevator was generally in running

                                                                       20 condition, but not all of the required lighting for the elevator lobbies was operational.

                                                                       21 There also was a non-functioning light in the pit of the elevator which needed to be

                                                                       22 replaced. KONE requested that I purchase eight walkie-talkies and indicated that they

                                                                       23 would provide signage and training on the elevator’s usage. KONE further indicated that

                                                                       24 they would provide a proposal to maintain the system and to obtain certification for

                                                                       25 temporary usage, and that it would take approximately eight hours to complete the

                                                                       26 inspection and clean-up of the elevator. KONE then agreed to meet with me and the

                                                                       27 state for certification. Since KONE expressed concern about past due balances owed, I

                                                                       28 am awaiting completion of this aspect of my repair checklist.


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                                                                        1                   14.   During the initial interim period, I also documented further work

                                                                        2 which needs to be done to correct the electrical issues related to the Project’s lighting

                                                                        3 systems. In this regard, I have communicated with the Debtor and its counsel regarding

                                                                        4 the scope of this work. I have requested information related to how the power comes into

                                                                        5 the Project since it appears that the majority of the power is coming in from the retail

                                                                        6 center space. The elevator itself appears to be on separate power. To date, I have not

                                                                        7 received a response from the Debtor.

                                                                        8                   15.   Prior to the initial hearing on the Section 543 Motion, I retained DC

                                                                        9 Mechanical to cover the roof curb openings and ducting/ductwork openings on the roof

                                                                       10 that could be causing leaks or damage to the HVAC systems. On April 14, 2021, I met

                                                                       11 with a roofing contractor regarding leaks that were discovered in some of the rooms on
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                                                                       12 the 7th Floor. I was advised of the source of the leaks, but did not receive a proposal for

                                                                       13 the repair work at the initial meeting. I followed up and also requested that the proposal

                                                                       14 include repairs to the Project’s balcony caps, as first raised by the City. I was then

                                                                       15 provided a proposal which was reviewed and accepted by the relevant parties, with work
SulmeyerKupetz, A




                                                                       16 to be completed by the middle of May.

                                                                       17                   16.   As mentioned previously, the 4th Floor had several doors that were
                                                                       18 not installed. This raised serious concerns about access into the Project by vagrants

                                                                       19 and/or pests. I received a proposal to provide the necessary repairs which was reviewed

                                                                       20 and accepted by the relevant parties, and the work is expected to be completed by the

                                                                       21 middle of May.

                                                                       22                   17.   Given the various signs of leaks in the rooms, it was important for me

                                                                       23 to determine if there was a mold issue so it could be addressed immediately to avoid

                                                                       24 further damage to the Project. I retained American Integrated Resources, Inc. to

                                                                       25 investigate moisture intrusion into the building. A proposal for remediation was provided

                                                                       26 to the parties and the work was completed during the week of May 10, 2021. The report

                                                                       27 from this work indicates there are currently no moisture issues, but recommends a mold

                                                                       28 and indoor air quality inspection because the Project’s temporal exposure to the elements


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                                                                        1 suggests past water intrusion. As recommended, I plan to obtain a proposal to test for

                                                                        2 mold.

                                                                        3                   18.   Prior to the initial hearing on the Section 543 Motion, I also retained

                                                                        4 a plumber to address the sewer smell issue. In order to flush out the system, water was

                                                                        5 placed down all open drains that were available to add water to the p-traps. There were

                                                                        6 openings that also were covered, which helped the situation but did not totally correct the

                                                                        7 issues. I also was alerted to the fire sprinkler system drain that could be a problem and

                                                                        8 water was placed in that p-trap as well. This again helped, but did not totally correct the

                                                                        9 situation. As such, I have received a proposal to cap the sewer and have sent the

                                                                       10 proposal to the City for review. The City also expressed concerns since the hotel and

                                                                       11 retail center share sewer lines. Accordingly, I intend to continue adding water to the
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                                                                       12 drains. Additionally, the contractor addressing the rooftop mechanical equipment issues

                                                                       13 will cover select drains where possible and this work is included in that proposal. I intend

                                                                       14 to determine if this work can be accomplished given the current status of the unexpired

                                                                       15 permits.
SulmeyerKupetz, A




                                                                       16                   19.   With respect to the Project’s rooftop mechanical equipment, I

                                                                       17 obtained a proposal that includes anchoring the HVAC equipment that is not currently

                                                                       18 anchored on the 4th Floor roof. The contractor is able to start this work the week of May

                                                                       19 17, 2021.

                                                                       20                   20.   Prior to the initial hearing on the Section 543 Motion, I received two

                                                                       21 proposals to replace the Project’s numerous broken windows. I was concerned with

                                                                       22 aspects of each proposal and, as a result, obtained a third proposal. The third proposed

                                                                       23 contractor was asked to include the broken windows that the only had one pane broken

                                                                       24 as well. This proposal was provided to the parties and accepted, and the replacement

                                                                       25 windows have been ordered.

                                                                       26                   21.   After my appointment, I also engaged Urban Advisory and Building

                                                                       27 Group, LLC (“Urban Advisory”) to provide a report of the current physical condition of the

                                                                       28 Project. Urban Advisory advised me that it believed the pool deck coating had already


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                           1 been damaged and that further efforts to save the coating would not be effective. As
                          2 such, I contacted a pool deck contractor who further elaborated that covering the deck
                         3 with plastic would protect the pool deck from the sun, but it would hold rainwater and
                                 could cause damage. The contractor stated that I should consider the coating a
                         5 "sacrificial coating" and when construction resumed a fresh coat could be applied on top
                         6 of the damaged coating. I also learned that there was noticeable pooling in some areas




                        15 requested that access to the Project be permitted to allow potential investors to inspect
                        16 the property. Each time, I consented to the request, and unfettered access to the Project
                        17 was granted to the Debtor and its representatives during the initial interim period.
                        18




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                                 of the deck that would likely require re-coating. In addition, I was advised that since the
                              8 deck is located in an extremely windy area, the plastic poses a safety risk by blowing off
                           9 of the Project. To reduce this risk, I have retained a laborer to fold up and move the
                        10 plastic tarps to storage. This work is scheduled to be completed by the middle of May.
                        11                      22.   After investigation, I also learned that keeping the pool free of water
                        12 is all that needs to be done at this time. Finally, I remain in the process of obtaining
                        13 proposals for temp power, and carpet protection, as alluded to earlier.
                        14                      23.    In addition to the foregoing, on at least four occasions, the Debtor




                                                I declare under penalty of perjury under the laws of the United States of
                        19 America that the foregoing is true and correct.
                        20
                        21
                                                Executed this 20th day of May, 2021. at Los Angeles, California.


                                                                           Bellann R. Raile




                                                                              22
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                                                                        1                              DECLARATION OF ANDREW TROST

                                                                        2                   I, Andrew Trost, declare and state as follows:

                                                                        3                   1.    I am over the age of eighteen and am a principal of Carine

                                                                        4 Consulting (“Carine”) which I formed in 2012 to provide project solutions and complete

                                                                        5 project management from inception to completion. I have spent almost 30 years in all

                                                                        6 facets of the industry, as a subcontractor, design consultant, general contractor, and

                                                                        7 project/construction manager. I hold a bachelor of science degree in Chemistry/Materials

                                                                        8 Science from UCLA 1986, and I hold a Certificate, Fire Protection, from the University of

                                                                        9 California, Irvine. I also am registered as a Professional Engineer, Fire Protection, in the

                                                                       10 State of California, and have the following professional affiliations: PMI, CMAA, SFPE,

                                                                       11 NFPA, and AIA. The facts stated herein are true of my own personal knowledge and I
   Professional Corporation
                              333 SOUTH GRAND AVENUE, SUITE 3400
                              LOS ANGELES, CALIFORNIA 90071-1406
                               TEL. 213.626.2311 • FAX 213.629.4520




                                                                       12 could and would competently testify thereto as follows.

                                                                       13                   2.    I make this declaration in support of “Shady Bird Lending LLC’s

                                                                       14 Supplemental Statement Re (1) Motion of Shady Bird Lending, LLC for Order Excusing

                                                                       15 State Court Receiver From Turnover of Assets Pursuant to 11 U.S.C. § 543, and (2)
SulmeyerKupetz, A




                                                                       16 Motion for Relief From the Automatic Stay Under 11 U.S.C. § 362 (with supporting

                                                                       17 declarations) (Real Property); Declarations of Bellann R. Raile and Andrew Trost in

                                                                       18 Support Thereof” (the “Supplemental Statement”).

                                                                       19                   3.    Recently, Carine was retained by Bellann R. Raile (the “Receiver”),

                                                                       20 who I understand is duly appointed, qualified, and acting state court receiver for the real

                                                                       21 property bearing APN Nos. 276-361-20 and 276-361-22, consisting of a partially

                                                                       22 constructed 178-room, seven story hotel building located in Buena Park, California (the

                                                                       23 “Project”) owned by the debtor The Source Hotel, LLC (the “Debtor”). Carine specifically

                                                                       24 was retained by the Receiver to provide her a preconstruction report of the Project

                                                                       25 addressing certain identified areas of concern. In this regard, Carine prepared a

                                                                       26 Preconstruction Phase 2A Progress Report (the “Phase 2A Report”) dated May 20, 2021.

                                                                       27 A true and correct copy of the Phase 2A Report is attached hereto as Exhibit “A”.

                                                                       28


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                        1                  4.    As evidenced by the Phase 2A Report, problems with the Project's
                        2 power and low voltage existed as far back as 2018. Specifically, Enterprise Level
                        3 Technology Solutions ("ELTS") was brought onto the Project in August 2018 as the low
                        4 voltage project manager. According to Cyril Mario from ELTS, ELTS's roles included (i)
                        5 reviewing current plans and drawings, {ii) overseeing the phone equipment installation by
                        6 Newgens, Inc. ("Newgens"), (iii) technology procurement, (iv) internet circuit procurement
                        7 and contracts. {v) guest HSIA vendor quotes and management, (vi) guestroom
                        8 entertainment vendor quotes and management, (vii) phone system vendor quotes and
                        9 management, and (viii) due diligence of existing plans and manage technology
                       10 construction.

C
                       11                  5.    According to Mr. Mario, after reviewing some of the proposals which
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��!ij
... ... .
                       12 were already going forward, ELTS discovered that (i) the phone equipment being sold to
��i!
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                       13 the Project by Newgens was old phone equipment which had reached end of life at that



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j;3�                   14 time (support was ending) for what ELTS considered to be an egregious amount, (ii) the
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--..cu..
�ca!.-                 15 phone equipment did not have call accounting or voicemail integration, and the Wi-Fi was
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                  .    16 not approved by Hilton Hotels, (iii) the cabling proposal did not have a certification phase
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             C)�
GJOZN
 t'cn < J              17 (where each cable run would need to have higher level of testing instead of just
.5'9>��
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(I)                    18 continuity). and (iv) after securing quotes for the vendor contracts, ELTS was able to find
                       19 much newer equipment for a lower price than provided by Newgens, which
                       20 recommendation was rejected. Mr. Mario advised me that shortly thereafter ELTS was
                       21 pulled off of the Project. A summary of ELTS's findings are integrated in the Phase 2A
                       22 Report.
                       23                  I declare under penalty of perjury under the laws of the United States of
                       24 America that the foregoing is true and correct.
                       25                  Executed this 20th day of May, 2021, at Los Angeles. California.
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 The Source Hotel
 6988 and 6986 Beach Blvd.
 Buena Park, California 90621




 Construction Completion

 Preconstruction Phase 2A
 Progress Report
 Prepared for:

 Shady Bird Lending, LLC
 P.O. Box 11480
 Beverly Hills, CA 90213


 May 20, 2021 Rev. A




 Prepared by:

 Carine, Inc.
 1378 East 29th Street
 Signal Hill, CA 90755
                                                 {!;, Carine Inc.
 www.carineconsulting.com




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� Carine
   1.0   PHASE2A-STATUSSUMMARY

   On March 30, 2021 Carine, Inc. (Carine) completed Phase 1 - Due Diligence and issued a summary report to
   Shady Bird Lending, LLC (SBL) that outlined preliminary costs, schedule, and risks associated with completing
   construction and ramping up The Source Hotel for operation. SBL engaged Carine in early April 2021 to begin
   Preconstruction activities to prepare for construction start in early summer 2021.

   Over the last 5 weeks, the Carine team prepared a construction request for proposal (RFP), developed trade­
   specific scopes of work, issued RFP packages by trade, and performed several contractor pre-bid meetings
   and job walks necessary to prepare for construction start. The RFP packages included the original "Issue for
   Bid" drawings for hotel interior build-out, AIA-form draft construction contracts with exhibits, and updated
   project schedules, providing bidders the detailed project requirements necessary to submit complete
   proposals for completion.

   Packages were issued to original trade contractors that have shown an interest in being part of the completion
   team. For trades where original contractors did not show an interest, Carine solicited trusted, well-established
   trade contractors to participate in the bidding. The project now has excellent coverage for all major trades and
   most minor trades to successfully complete the project.

   The contractor job walks identified specific conditions and level of completion specific to each trade, on every
   floor and area of the facility. The team also performed more in-depth studies of areas left unprotected
   (identified in Phase 1) and are now subject to weather/water intrusion and other degradation. Although there
   are still many unknows, this deeper dive into construction status will translate into more complete scopes of
   work and more accurate pricing. Contractor bids will be submitted over the next 1-2 weeks to support the
   Phase 2A project budget update.

   Furniture, Fixtures & Equipment (FF&E) - A complete item-by-item inventory of the FF&E purchased by the
   original developer was performed over a two-week period. The inventory covered products stored in three (3)
   large rooms on the retail side of The Source property, and ten (10) 53-foot-long box trailers stored at
   Westransco facility in Corona, CA. The inventory was expanded to include two (2) additional massive storage
   rooms in The Source retail spaces. The Carine team is analyzing the data and is performing a line-by-line
   comparison with the drawings to account for all missing products.

   Construction Shutdown - Carine has also been supporting the Court Receiver, Cordes & Company (Cordes) with
   contractor walks and pricing for the construction shutdown scope of work. When construction stopped two
   years ago, the construction site was not properly closed. The work associated with proper closure is underway
   and is expected to be completed by late June. Additional details follow in the body of this report.

   Hotel Operator - Carine initiated discussions with the original hotel operators, Aimbridge Hotels. Aimbridge
   confirmed that Hilton Hotels is interested in establishing a new brand agreement with SBL for The Source
   Hotel. The Aimbridge team is preparing a development support proposal and will be ready to re-engage within
   the next few weeks.

   City of Buena Park - Carine was informed by Cordes that City building officials and Orange County Fire
   Authorities recently visited the site to inspect conditions and comment on steps necessary for renewing the
   permits. See Project Risks below for additional comments.

   Phase 2A is expected to be completed over the next 2 ½ weeks, resulting in updated project costs and schedule
   and an update to this report.

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   Cost and Schedule-Phase 2A Update



                                             *** PENDING - TO FOLLOW***




   Project Risks

   Although there has been significant progress during Phase 2A, the team has been constrained by many factors.
   For example, based on Court Order, Carine is not allowed to meet with City of Buena Park officials or other
   agencies. The Attorney representing the City issued a letter recommending that SBL engage with the architect
   of record, DKY Architects, Inc. to lead reinstating the building permits. As of the date of this report, DKY is
   unwilling to communicate or engage with SSL/Carine. The City's Attorney issued an earlier letter summarizing
   the original permits and inspections - this helped the team understand what work has been
   inspected/accepted by the approving agencies.

   Communication with original trade contractors has been much more open during Phase 2A. Meetings have
   more clearly defined project risks identified during Phase 2A, and new risks have surfaced. Carine is gathering
   information on contractor agreements, situations resulting in subcontracts being terminated, non-Hilton­
   approved materials being installed, confusing scope of work limits, and a consensus that the project was
   disorganized and poorly managed. Additional details follow in the body of this report.

   During the original construction phase the developer made significant design changes, assuming to reduce
   cost. Carine does not yet have access to documentation showing details of these changes. This is a schedule
   and cost risk for the project because some of the procured FF&E may not fit the conditions in the field. During
   Phase 28, Carine expects to manage this and similar risks by having direct interface with the designers of
   record.

   Updated Risk Matrix

   Carine updated the project risk matrix, See attached document, which includes potential risks for permitting,
   construction, and hotel flag negotiations. Although, no showstoppers are anticipated, the most effective way
   to mitigate the largest risks is to re-open direct lines of communication with the City of Buena Park, other
   agencies, Hilton Hotels, and the design team of record.




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� Carine
   2.0    CONSTRUCTION RPP

   Trades Solicited

   1.    Fire Sprinklers- Salamander Fire Protection
   2.    Drywall-Nevel Group, Inc.
   3.    Doors/Frames/Hardware - Contractors Door Supply
   4.    Glass/Storefront Doors -Lakewood Glass and Screen
   5.    Paint and Wall Coverings- PDG Wall Coverings
   6.    Fire Alarm -Radix Fire Alarm
   7.    Millwork-Architectural Wood Working
   8.    Millwork-SMI Architectural Millwork, Inc.
   9.    Electrical- Evergreen Electric
   10.   Tile and Stone-City Tile
   11.   Tile and Stone-Alpha Tile & Stone
   12.   HVAC/Plumbing- Iron Mechanical
   13.   Plumbing Pan-Pacific Mechanical
   14.   Signage Tile and Stone - Landmark Signs, Inc.
   15.   Waterproofing- Sta-Dry
   16.   Pool- Mission Pools
   17.   Fire Alarm- Costco Fire Protection
   18.   Kitchen Equipment-Tri-Mark

   Trades Pending RFP

   19.   Low Voltage Consultant- Enterprise Level Technology Solutions
   20.   Low Voltage - On Target (Numerous trades and contractors)
   21.   Millwork - 30 Designs
   22.   Restroom Fixtures - Stumbaugh
   23.   Suspended Ceilings - Nevel Group, Inc.
   24.   Suspended Ceilings -Ceiling Concepts
   25.   Final Cleaning - Ritz Companies
   26.   Commissioning - En powered Solutions
   27.   Furniture Artwork - TBD
   28.   Light Fixtures/Lighting Control- TBD
   29.   Landscaping-TBD
   30.   Rooftop Mechanical Noise Report- Martin Newsom & Associates

   RFP Documents

   The RFP documents as noted below were issued to all the trades.

   31.   Attachment A, Scope of Summary-Project Summary
   32.   Attachment B, Scope of Work-Trade Scope for all trades
   33.   Attachment C, Construction Bid Form
   34.   Attachment D, Conceptual Project Schedule
   35.   Attachment E, The Source Hotel Drawing List

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  36. AIA Document A132-2019, Standard Form of Agreement Between Owner and Contractor, Construction
      Manager as Adviser Edition
  37. AIADocument A132-2019, Exhibit A, Insurance and Bonds
  38. AIADocument A132-2019, Exhibit B,Determination of the Cost of the Work
  39. AIA Document A232-2019, General Conditions of the Contract for Construction, Contraction Manager as
      Adviser Edition




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� Carine
   3.0        CONSTRUCTION SHUTDOWN

   Overview

   At the request of Cordes & Company, Carine has provided additional support to help perform on site job walks,
   develop scope of work, review proposals, perform onsite kick-off meetings and inspect completed scopes of
   work regarding the Construction Shutdown/Safe-off services. The purpose of the following services as noted
   below are to ensure the building and various systems throughout the building are secured while the project is
   on hold from construction activities. Estimated completion date is late June 2021.

   Scope ofWork ru1dSchcdule

         1.    Freight Elevator- Kone (Schedule to start week of 5/24/21)
         2.    Roof and Balcony Repairs - Best Contracting Services (Completed as of 5/18/21)
         3.    Fire Sprinkler - Salamander Fire Protection (No work is required per OCFA)
         4.    Temp. Doors (4th Floor/Roof Level) - Contractors Door Supply (Completed as 5/13/21)
         5.    Glazing Repairs - Lakewood Glass and Screen (Materials ordered, completion target date is 6/25/21)
         6.    Moisture Testing - American Integrated Resources - Completed as of 5/174/21)
         7.    Pool - Mission Pools (No work is required at this time)
         8.    HVAC/Plumbing - Iron Mechanical (Work in progress, estimated date of completion 5/28/21)
         9. Temp. Power - Evergreen Electric (Scheduled to start week of 5/24/21, completion date, 5/26/21
         10. Plumbing - Pan-Pacific Mechanical (No work required)
         11. HVAC Equipment Relocation/Storage Services - Giger Relocation Services (No work is required)
         12. Water Damaged Drywall Removal - Nevell Group, Inc. (Scheduled to start week of 5/24/21, completion
               date 5/28/21)
         13. Pool Deck Water Proofing - Sta-Dry Waterproofing (No work is required)
         14. Misc. Onsite Labor Work - Cordes & Company (Estimated to start on Week of 5/24/21, 1-day duration)

   Site Photos




      Southeast Conner - Look               Westside - Looking South           Porte-Cochere - Looking
              North                                                                    South




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     Reception Area - Looking    Lobby Area - Looking East          Lounge Area - Looking
              North                                                      Southeast




     Restaurant Area - Looking     Kitchen Area - Looking          Deck/Pool Area - Looking
              South                         West                            West




                                 Chiller Plant - Looking East     Generator - Looking South




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� Carine
  4.0 DESIGNER ENGAGEMENT and RENEWlNG PERMITS

  Upon approval by the Architect and Engineers of Record (AOR/EOR), Carine anticipates the first step to re­
  engage with all design parties via telephone and confirm interest to continue with project as designers of
  record. Second, Carin will schedule on site meetings engage the design professionals to help Carine
  understand the original scope of work and confirm existing conditions, unknowns, and balance of design work
  to be completed. Carine has engaged with the Interior Designer, Hersch Bedner Associated (HBA), and the
  team is scheduled to meet onsite 5/25/21 to further understand the design and scope of work.


  When access is approved by the City Attorney, Carine will schedule meetings with the local agencies:
  Community Development, Building & Safety, Public Works, Orange County Fire Authority (OCFA), Orange County
  Health Department (OCHD) and the State Elevator Inspector to determine requirements to renew the expired
  permits and restart construction.


  5.0        CONSTRUCTION PLANNING

  The following is a preliminary list of construction planning items that will be included in Phase 2B-Preconstruction.
  The costs are included in the Phase1 budget and will be refined with hard quotes:

        1.    Parking and Staging Costs -All costs associated with construction parking, staging and storage of
              materials, tools, and equipment necessary to support project activities throughout the duration of the
              project.

        2.    Off-site storage - Store FF&E tools, construction equipment and construction materials throughout the
              duration of the project.

        3.    Temporary Utilities - Cost for temporary utilities during construction: Power, telephone/internet, and water
              throughout the duration of the project.

        4.    Sanitation - Install and maintain temporary toilets and wash stations of quantity/capacity to support
              manpower on site, including regular servicing throughout the duration of the project.

        5.    Mobilization Plan - Prepare a plan with narratives for site management and City approval as required.
              Plan shall include the following at a minimum.

                  a.   Planned parking and estimated parking counts, on-site and off-site and defined trucking routes.
                  b.   Security fencing and gates.
                  c.   Dumpsters, sanitation facilities and roll-off containers/Mobile-Mini units.
                  d.   Material staging/laydown areas.
                  e.   Field fabrication areas as required.
                  f.   Approved SWPPP's Plan - May be minimum due to project footprint.

        6.    Safety Plan and procedures -Provie safety signage, first aid kits, etc.

        7.    Temporary Fencing and Gates - Erect, maintain and disassemble all temporary fencing and gates
              necessary to maintain a secure and safe site throughout the duration of the project.

        8.    Signage - Install and maintain signage per City of Buena Park and Cal-OSHA requirements.
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� Carine
         9.    Dumpsters and Waste Management- Provide and maintain dumpsters throughout construction, include
               hauling and disposal costs. Maintain recycling and disposal reports as required by City of Buena Park,
               County and State requirements.

         10. Progress Cleaning - Provide labor and material for progress cleaning daily. Maintain site in an orderly
             and broom-clean condition at the end of each shift (Labor Ready).

         11. SWPPS - Maintain.

         12. Flagmen and Traffic Control - Provide flagmen, traffic control and associated equipment as required
             (Labor Ready).

         13. COVID-19 Protocol- Implement work procedures to help minimize the spread of the Novel Coronavirus
             ("COVID-19") at the project site.

         14.
   6.0        PROJECT BUDGET and SCHEDULE-PHASE 2A UPDATE

                                               *** PENDING - TO FOLLOW***

   Project Schedule - Carine updated the schedule to reflect....

   Refer to the file titled: 'Source Hotel Draft Schedule.2021-04-30.PDF'.

   Assumptions - The budget and schedule were developed with the following assumptions:

   A)

   B)

   C)
   D)

   E)



   7.0        PROJECT RISKASSESSM ENT- PHASE 2A UPDATE

   See attached updated the project Risk Matrix. Refer to the file titled: 'Source Hotel-Project Risk Matrix_2021-
   05-19.PDF' for details. During Phase 2B, the matrix should be reviewed with ownership to agree on the
   mitigation measures necessary to minimize cost and schedule impacts.




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             Construction                                         1S0days      Monl/13/21            FuJ/11/22              "'                                                                                                                                                                                                 Conurv<Uo11

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          � Carine Inc.                                                                                                                                                                                                                            M-M"-"'-,t
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                                                                                                                                                                              The SOURCE Hotel
                                                                                                                                                                 6998 and 6996 Boach Blvd, Buona Vista, CA


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                                                                                                                                                                       Conceptual Project Schedule
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               (b et ..ecn l & 4 floor,)
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               4thFloo,litn.u�&,,,old011t                      J,.,,•,      M->11 1Cll2'J11    r,111·�1              0%!.&                                                                                                                      41hnoo,,---,t ,,,.uROQm&.,,ld0'1t
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               41h Floo, G1,1Hl Room,                          JO days      Mon 11/22/21 J:11 IZ/31/21               0%                                                                                                                                                                4 thAoctrCi�llROOff\l
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              5th Hoo, Coirido,                                JO days      Mon 101,en1 Fn 11/26/21                  0%                                                                                                                                      5thRoo,Comdo,
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                  ln•PM-1,... II, S<tn•OII                                                                                                                                                                                                      IQlll ••lQ/22
                  C.-npNI• Ofyw.all/P,1.-1/flocif,.,C                       MQfl lllilnl       r., llllG/71          o-..t4.l1                                                                                                                           COtflfll.• 1�
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              5th Hoo, G1,111t Rooms                           l5dayt.      Mon 11n2n1 Fri 1nt22                     .,.                                                                                                                                                   11n2
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                 Co,r,plet• (),y,w.1Jl,PAN"tlfl-1"C            1 ..1,,s     """'11,2u11        ,,. 11,1on1                                                                                                                                                             Co,npt11• �UIP•lfltlf'loow,c

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         � Carine Inc.

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                                                                                                                                                        Slwd_\' Hird l.,·111li111,:. l.l.t:
                                                                                                                                                          The SOURCE Hotel
                                                                                                                                               6988 and 6986 Boach Blvd, Bueno V1stn, CA

c.,�-,,...7,�,. .-m-,---------�,.-,,�---,,-,-M, ,-- --...,,�.--
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           Gth Floor GuHt Rooms                         40d�ys     Mon11/8/21         Fri 1129/21

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 "           IMP.,C11f>f1AS,Lfl•OII                                                                                                                                                                                                10/25-10/2!1
             Compl,u 0ryw,.11, P.11r1/Flooof' t:                   Mon 11111121       r111111on1          0'1.18,6!1                                                                                                                               Con1P1,t,Dtyw.r,ll/P,&/nl/f�l11c

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           7th Flee, Guest ROOl'M                       JO days    Mon U/13121 Fu 1/21/22                 0%
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 110     Btc1n Operations                               iOdays     MonUJU/21 Fri41l5122                   .,.                                                                                                                                                                        �c:,n0ptf11t-•
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          (OS!E)                                                                                            wk,44FS·                                                                                                                                                 .,,.,,..,____ ,n
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            c.....,ac:..,,....tJ                                                                                                                                                                                                                                    IZ/tl-1n
             Son.-!IGood•IG�uw,11•. l.it.•'iY,11• •     '"''•                                                                                                                                                                                         Sm.Ill Goodt (Gt,1u..-.1t,, f,1tM w..,., Kltt,._.f\ Vt•11"L1, l'U.J


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                                                                                                                            t:st,mateo
                 Description                  Risk Type    Risk Level   Risk Brief                                          Cost       Mitigation Factors                                   Next Action                  Notes
                                                                        The project has been sitting unfinished for
                                                                        quite some time potentially allowing sediment
                                                                                                                           Assessment:
                                                                        and corrosion to settle and hardened in U1e
Sediment and Rust potential in Mechanical and                                                                              $SK;
                                              Cost         Medium       plumbing and mechanical piping. TI1ese                         Inspection/Testing & Flushing                        Schedule inspection          Iron Mechanical preferred.
plumbing systems                                                                                                           Flushing:
                                                                        systems need to be inspected/assessed to
                                                                                                                           $25K·$50K
                                                                        determine extent of flushing or replacement
                                                                        required.
                                                                                                                                       Preliminary budget and schedule has
                                                                        Without the latest set of drawings, the team                                                                                                     Toe DD set was provided to Carine. This
                                             Cost                                                                                      allowances based on team experience. Need
No access to plans and specifications                                                                                                  latest set of drawings to tighten up scope,                                       helped the Phase I effort, but the
                                             Schedule                                                                                                                                       Obtain latest set of plans
                                                                                                                                                                                                                         project plan has many unknows at this
                                                           Low
                                                                        especially Ground Level and 2nd Floor.
                                                                        cannot confirm the scope for finishes,
                                                                                                                                       schedule and budget, move to completion
                                                                                                                                       contracts.                                                                        time.
                                                                        City of Buena Park inspection logs were
                                                                                                                                                                       -
                                             Cost                                                                                      Reivew agency inspection logs and interview
                                                                        reports are not yet available. No inspection
                                                                        recently provided, however, detailed inspection
Inspection records are limited                                                                                                         subs; prepare summary log of history and
                                             Schedule                   records are yet available from other agencies.                                                                      contractors
                                                           Low                                                                                                                              Meet with agencies and
                                                                                                                                       inspections/testing required.
                                                                        No contractor daily reports or QNQC logs are
                                                                    -   available.                                 --
                                                                                                                                          uppliers/Manufacturers will need to be
                                                                        Warranties for each trade/system must
                                             Cost                                                                                       contacted to discuss product warranties on
                                                                                                                                       15                                                   Schedule meetings,
                                                                                                                                                                                                                         Likely new ownership will assume
Warranty of Product                                        Low                                                                          product U1at is already installed. Identify         develop status and plan by
                                             Operational                been installed and on-site for some time
                                                                        understood, as some equipment/prcxluct has
                                                                                                                                                                                                                       vendors or new subs/vendors will not
                                                                                                                                                                                                                       inherent warranty risk Ir origlnal subs/
                                                                                                                                        warranty holes and discuss mitigation               trade.
                                                                        without beneficial occupancy or utilization.
                                                                                                                                        measures with ownership.                                                         provide warranties for work in place.

                                                             -          A testing program for product already installed
                                                                                                                                       I
                                                                        will need to be established to determine If any                                                                     Develop list of systems to
                                                                        remedial work for the project is required. An                                                                       be tested; engage subs to
Testing Protocol for Installed Product       Cost          Medium                                                                      Perform leak tests, flushing of MEP piping
                                                                        example of this is a leak test of the 7"' floor                                                                     test prior to starting
                                                                                                                                       systems, etc.

                                                                                                                                                                                            remediation in scope.
                                                                        roar, or moisture test at windows, and leak                                                                         construction; include any
                                                                        test of the 4 noor swimminaJJOQI.
                                                                        Construction documents for the project are not
                                                                                     "'



                                                                        currently available and details pertaining to
                                             Cost                                                                                      Discuss attenuation design with AOR and
Sound Attenuation                            Schedule      Low                                                                         Identify risks if any. Meet with Hilton to discuss
                                                                        not available for comportment to Hotel
                                                                        sound transmission and sound attenuation are
                                             Operational                                                                               requirements • negotiate.
                                                                        Branding requirements or existing constructed
                                                                        conditions.




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                                                                                                                                                                                                                    � Carine Inc.

                                                                                                                               Estimated
                  Description                 Risk Type     Risk Level   Risk Brief                                            Cost            Mitioation Factors                             Next Action                 Notes


                                                                         The interstitial space between the 3rd and 4th
                                                                                                                                           I
                                                                         floors are not sprinklered. QC Fire Authority
                                                                         may require this space to be covered by the                                                                          Discuss risk with
Interstitial Space Fire Sprinkler Coverage    Cost          High         fire sprinkler system since there Is access to $!SOK              'Seal access.                                      ownership; obtain sub
                                                                         this space (Code-required, code assumes                                                                              quote
                                                                         space could be used for storage In the future


                                                                                                                                           I
                                                                         due to access).

--
                                                                         There was mold identified during construction
                                                                         located at floors 4,6 and 7. The mold was
                                                                         abated during construction and Carine did not
                                                                                                                                           I
                                                                         observe any mold on visible surfaces. Carine
                                              Cost                       was told by the mold abatement subcontractor                                                                          Schedule thorough
                                                                                                                                               Inspect for additional mold growth; mitigate if
Water Intrusion                               Schedule      High                                                                                                                               inspection with
                                                                         that the source of water Intrusion has been                           necessary.
                                              Operational                                                    t1l                                                                               environmental firm
                                                                         repaired at some windows on the 4 , 6th, and
                                                                         7"' floors and at balconies on the 7"' floor. It Is
                                                                         not known if this issue has been completely
                                                                         resolved.
                                                                                                                                           I
                                                                                                                "'
                                                                         The top of the stucco forms at the 7 Floor
                                                                         balconies appears to be not finished. The tops
Stucco Forms at Balconies not Complete        Cost          Low          of these forms need to be evaluated for mold $25K-$50K                Complete construction                          Schedule inspection
                                                                         and remediated if mold is present and stucco
                                                                         finish comoleted.
                                                                         The exterior doors on the 4" floor have not
                                                                                                     1




                                                                                                                                           r
                                                                         been imtallcd and 11 1s not known to what extent
Unprotected Openings                          Cost          Low                                                                $20K-$40K       Complete construction                          Schedule Inspection
                                                                         the finishes will need to be replaced due to
                                                                         moisture intrusion into these openings.                                                            ----
                                                                         The mechanical equipment Installation was


                                                                                                                                           I
                                                                         underway when the project was stopped and
                                                                         some equipment has been installed, and
                                                                         potentially left open to the weaU1er on the                                                                          Schedule Inspection to
                                              Cost                                                                                             Secure air handlers; Inspect for water
Mechanical Equipment                                        High         roof. Some of the equipment Is stored In the                                                                         determine there was water
                                              Schedule                                                                                         Intrusion; Complete construction
                                                                         parking structtire and the condition of this                                                                         intrusion




                                                                                                                                           I
                                                                         equipment is not known and must be
                                                                         evaluated for acceptability of condition for new
                                                                         installation.




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                                                                                                                                                                                                         � Carine Inc.

                                                                                                                       Est,matea
                 Description                Risk Type     Risk Level   Risk Brief                                      Cost      Mitigation Factors                                 Next Action            Notes
                                                                       Construction is 70% complete based on Hilton
                                                                       Hotel design standards. Hilton-specified FF&E                  Schedule meetings with HIiton Immediately
                                            Cost
                                                                       is purchased and partially installed. If Hilton or           I with the goal of negotiating acceptance of
Design Standards                            Schedule      High                                                            Unknown                                                   Schedule meeting.
                                                                       another operator requires design changes this                 current design; If HIiton does not continue
                                            Operational
                                                                       could have a significant impact on project cost                partnership, solicit new brands/operators
                                                                       and schedule                                                                                      -
                                                                       It Is not known if the hotel Core and shell fire
                                            Cost                       alarm has been finaled by OCFA. If the fire                  Contact OCFA and the Building Department to
Hotel Core & Shell Fire Alarm Final         Schedule      Medium       Alarm has not received final inspection then       Unknown   detennlne Ir the Inspections on the Hotel Core Schedule meeting.       Date discovered 5/13/2021, Reported
                                            Operational                Building Final inspection for the core and shell                                                                                    by Cosco
                                                                                                                                    & Shell ls complete.are complete

                                            Cost
                                                                       mav not have occured either.

Fire Pump Protection for the Hotel                                     It is not clear what areas the fire pump serves.             Track down the fire pump drawings and verify
                                            Schedule      Medium                                                        Unknown                                                  Schedule meeting.
                                                                       Does the Fire Pump serve the hotel                           what the fire pump currently serves.
                                            Operational
                                                                                                                                                                         -
                                                                       project, and knows Hilton standards,
                                                                       The Low-voltage consultant that was on the

                                            Cost                       Enterprise Level Technology Solutions,                       Review the wiring, determine the
Low· Voltage Wiring                         Schedule      High         indicated that the wiring was not certified, and Unknown     maunfacturer, follow up with low-voltage                               Date discovered 5/13/2021, Reported
                                                                                                                                                                                    Schedule meeting.
                                            Operational                may not be able to be certified and may need                 consultant.                                                            by Cyril Mario, ElTS
                                                                       to be removed and replaced. TI1ey feel that

                                            Cost                       The OCFA requires a control panel for each
                                                                       the contractors work Is In question.

Hotel Has (2) physical addresses            Schedule                   address. It is not known if the OCFA will                    Talk with OCFA and U1e building department to                          Date discovered 5/13/2021, Reported
                                                                                                                                                                                    Schedule meeting.
                                            Operational                require (2) separate panels.                                                                                                        by Cosco
                                                          Medium                                                       Unknown
                                                                                                                                    confirm requirements.

                                            Cost                                                                                    Talk with Iron Mechanical, and the Building
                                                                       It is not dear why the fully installed (5) MUA
Make-up Air Units & Fan Removal from Roof   Schedule      High                                                                      Department to determine what the deficiency                            Date discovered 5/10/2021, Reported
                                                                       and (!)Fan units were removed from the Roof Unknown                                                          Schedule meeting.
                                            Operational                during construction.                                         was that required the de-Installation of the                           by Cosco
                                                                                                                                    units and removal from the Roof.




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                                                                                                                                                                                                               EXHIBIT A 0039
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                                                                                The Source Hotel, Bunea Park, CA
                                                                                  Constuction Shutdown and Safe-off



       Disciplines                   Sub-Contractor              Contact Name        Email                            Phone             Cost             Status
 1     Freight Elevator             Kone                         Troy Grooters     tmy,gcooters@kone,cQrn                562-577-7736                    5/04/21 - Pending proposal per field meeting
 2     Roofs and Balcony Repairs    Best Contracting             Mike Jimenez      m�s.tcontracting.s;m 310-738-102,                    $      31,650.00 5/05/21 - Proposal received
  3    Fire Sprinkler               Salamander Fire Protectior Fred Krayndler      s.alarruwer@d.s.lexiream..cQfll 818-269-6932         $            - 5/04/21 - No work required per OCFA.
  4    Temp. Doors                  Contractors Door Supply      Kyle Phillips     �.o.ntr.actors-dCUln,_upply.c 949-300-623{           $       4,700.00 5/06/21 - Proposal received
 5     Glazing Repairs              Lakewood Glass               Mike Souse        msouza@lakew.QQdgiliS.&2fil 562-254-271(             $      25,823.00 4/30/21 - Proposal received
 6     Moisture Testing             American Integrated Resou Tony Soto            a.s.o.N@ame.rica=.utagraiged...c 714-588-4551        $      15,882.00 4/30/21 - Proposal received
 7     Pool                         Mission Pools                Christopher Carne cbcis@missiooll.Q�                    949-588-010(   $            - 4/28/21 - No further action required at this time
 8  Mechanical/Plumbing             Iron Mechanical              John Emerson      iemersoo@ironmectiao.Lcal,C!l.lll 916-708-486:       $      16,800.00 5/14/21 - Proposal revised
 9  Electrical                      Evergreen Electric Const. Ir Cathy Pak         �ceeoe[ll@runai.l.i:o.m               213-272-788,   $       6,300.00 5/11/21 - Proposal reveived
 10 Plumbing                        Pan Pacific Mechanical       Steve Valot       stellell@1111mecbaoicill!l.lD         949-285-973f   $            - 5/04/21 - No further action required at this time
 11 HVAC Equip. Move & Store        Geiger Relocation Solution Ryan Porter         IY.all.@g!'.SJ'.e.lll.@m              949-933-869�   $            - 5/11/21 - Fee: $8,460.00 On hold for now
 12 FF&E Off Site Storage           TBD                          TBD                                                                    $            - 5/10/21 Fee pending, on hold for now
 13 Labor {Pool Deck Clean-up)      TBD                          TBD                                                                                     5/05/21 - Waiting for proposal
 14 Drywall Openings, City's Requei NGI                          Eric Crawford     .EJ:ic.@nQW[gr_Q.UJU_Oill             714-356-455e   $      10,757.00 4/29/21 Proposal received
 15 Waterproofing - Pool Deck
                                    Sta-Dry Waterproofing &
                                                                 Keith Cunningharr ke.itb.@sta-_d!yw.aq.terP.[O.Qfing..c 760-885-9927   $            -   5/05/21 No further action required at this time
                                    Construction Services, Inc.
                                                                                                                         Sub Total      $ 111,912.00


                     Proposal action completed
         -    -   - ' Proposal action pending
      t-- ---- -- -1
      �- ------ --- Contact information required
                   -




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                                                                       The SOURCE Hotel - Buena Park
                                                                             Shutdown Milestone Schedule
ID        Task Name                                 Duration   Start            Finish             Resource Names        A roval Date        Notes
     1    Shutdown Process                          52 days    Thu 4/15/21      Fri 6/25/21                                             NA
     2      Identify Scope & Contractors            18 days    Thu4/15/21       Mon5/10/21                                              NA
     3      Moisture Testing                        5 days     Mon 5/10/21      Fri 5/14/21        AIR                          Fri5/21/21
     4      Roofing/ Balcony                        5 days     Mon 5/10/21      Fri 5/14/21        BEST Constr                  Thu5/6/21
     5      HVAC/Plumbing                           8 days     Mon 5/17/21      Wed 5/26/21        Iron Mech                   Mon5/10/21
     6      FF&E Inventory - Part3                  3 days     Mon 5/10/21      Wed5/12/21         BBi                          Thu5/6/21 Approval to be confirmed
     7      Window Repairs                          40 days    Mon 5/3/21       Fri 6/25/21        Lakewood Glass               Mon 5/3/21 supply constraint
     8      Temporary Doors                         3 days     Wed5/12/21       Fri 5/14/21        CDS                          Thu5/6/21
     9      Mechanical Equip Relocation & Storage   3 days     TBD                                 GOS                          Thu5/6/21

     10     Pool Deck Cleaning                      1 day      Mon 5/17/21      Mon 5/17/21        labor Ready                          NA
     11     Electrical                              5 days     TBD                                 Evergreen Elecrical                  NA
     12     Freight Elevator                        5 days     TBD                                 Kone                                 NA
     13     Drywall Removal                         3 days     TBD                                 NGI                                  NA
     14     FF&E Relocation & Storage               10 days    TBD                                 BBi                                  NA




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                                   The SOURCE Hotel - Buena Park
                                          Shutdown Milestone Schedule
Predecessors




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{f;;, Carine Inc.
                                     REQUEST FOR PROPOSAL
                                            loprovide
                              Trade Contractor Construction Services
                                             under a
                                     Stipulated Sum Contract

   Project Name:                   The Source Hotel

   Project Address:                6986 and 6988 Beach Blvd., Buena Park, CA 90621

   Project Type:                   New 4-Star Hotel Build Out

   Owner:                          Pending

   Architect:                      DKY Architects

   Project Manager:                Carine, Inc.



   TRADES

   This RFP refers to the following trades:




   Based on your firm's qualifications, specifically your experience with similar hospitality construction
   projects and/or prior involvement with this project, you are invited to submit a Stipulated Sum
   Proposal to perform Construction Services as outlined in this Request for Proposal (RFP). Please
   thoroughly review the Project requirements and other Project documents referenced herein.

   RFPSCHEOULE

   RFP Issue Date:           See Projectmates
   Intent to Propose:        See Projectmates
   Job Walk:                 Contractors will be contacted to schedule job walk
   RFI Deadline:             Wednesday, May 5, 2021, 3:00 PM
   Proposals Due:            Friday, May 14, 2021, 3:00 PM written proposal, completed bid form and
                             supporting documents received via Projectmates
   Estimated Award Date:     June 2021, specific awards will vary by trade

   RFPCONTACT
   Please address proposals and questions concerning this RFP to the Owner's Project Manager (PM) via
   Projectmates:

   Project Director:       Albert Barcelo, abarcelo@carineinc.com




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<![;;, Carine Inc.
    PROJECT OVERVIE W

    The Source Hotel is a planned 178-key hotel located in Buena Park, California. It is part of an
    operational mixed-use development that includes retail, commercial offices, and a parking structure.
    Construction on the Hotel stopped in mid-2020. The hotel build out is approximately 70% completed.

    Carine, Inc. (Carine) represents a principal lender on the project who is pursuing acquisition of the
    asset. Proposals are being solicited from trade contractors to complete construction and ready the
    hotel for opening.

    The new hotel includes six (6) operating floors (Ground, 2 nd, 4 th through 7th) with the following
    features:

    1. pt Floor - 23.403 GSF: Porte CochereNalet. Lobby. Guest Reception. Lounge. Executive Lounge
       and Technology Center, Restaurant and Bar with full commercial kitchen. Restrooms. and staff
       office areas.
    2. 2nd Floor- 18,084 GSF: Conference Center with five (5) Meeting Rooms. Pre-Function Area. Training
       Room. Prep Kitchen. Restrooms. and staff offices and support rooms.
    3. Guest Floors 4-7 - 98.136 GSF: 178 guest rooms and suites supported by interior corridors and
       support areas. There is a fitness room on the 4th floor, and public restrooms. guest shower. and
       pool eguioment room supporting the pool deck.
    4. Pool Deck - 12.154 SF: Includes guest swimming pool and poolside bar, with direct access to the
       pool deck from (18) guestrooms facing the deck.

    PERMIT STATUS
    The original building and trade permits held with the City of Buena Park. Orange County Health
    Department, and Orange County Fire Authority have expired. The project team will re-engage with
    agency officials to confirm steps required to reinstate or renew all permits. The specific process to
    reinstate each permit is not known at this time, however, trades requiring a permit must include in
    the proposal price an allowance for a new permit.

    PROJECT COMPLETION PHASING

    The overall project completion schedule is approximately twelve (12) months. including Phase 2A
    through Phase 5. Phases will overlap with the following estimated timeframes/durations:

    •    Phase 1 - Discovery: Completed.
    •    Phase 2A- Planning: On-Going. Expected completion 5/16/2021
    •    Phase 28- Permitting & Preconstruction: 20 weeks, 5/19 to 8/18/2021
    •    Phase 3 - Construction: 28 weeks, 8/23/2021 to 2/25/2022
    •    Phase 4 - FF&E Installation & System Commissioning: 10 weeks, 12/6/2021 to 2/11/2022
    •    Phase 5-Turnover/Hotel Opening: 8 weeks, 1/31 to 3/31/2022




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       Carine Inc.
�
 SCOPE OF WORK

 1.   General


          a.    Refer to ATTACHMENT E - Project Drawings
          b.    Refer to the following attachments for Scope of Work narratives:
                     i.   ATTACHMENT A- Project Completion Scope of Work for project scope overview
                    ii.   ATTACHMENT B -Trade-Specific Scope of Work for work applicable to your trade
          c.    Pre-Bid Meeting - Attend Mandatory pre-bid meeting at the project site and become
               familiar with current site conditions necessary to execute the construction of the Project.


 2.   Construction Activities

      Contractor services during construction shall include but is not limited to the following:


          a.   Comply with construction documents and applicable agency requirements.
          b.    Designated Foreman - Contractor shall assign one (1) foreman as its lead craftsman to
               oversee trade field work, attend weekly foreman's meeting, attend tailgate safety
               meetings, coordinate deliveries, provide daily updates to Site Construction Manager (CM),
               and represent the Contractor for all inspections.
          c.   Scheduling - Provide weekly schedule updates to Site CM for input into 3-week look­
               ahead schedule, showing all major activities by trade, crew size and any critical items.
         d.    Quality Control - Contractor shall maintain quality control for trade-specific and trade
               interfaces throughout construction to ensure quality installations. Prior to the start of the
               job, a preparatory meeting will be held to discuss the subcontractor's Illness and Injury
                Prevention Plan, quality control plan, mobilization, scope of work, testing requirements,
               schedule.
         e.     Inspections - Contractor is expected to coordinate and schedule all trade inspections and
                approvals by all relevant Building, Fire, Health department and any other government and
                utilities officials necessary for the approval of its work.
          f.    Drawing Redlines - Foreman shall update the master redline set on a weekly basis to
               reflect any deviations from construction drawings. Master redline set will be maintained
               on site by the Site Construction Manager.
          g.    Rigging/Lifts - Prepare and submit for Site CM approval a lift/move plan for all equipment
                and material requiring rigging. Include flagmen, dollies, rollers, and protection of work-in­
                place. Comply with applicable Cal-OSHA Safety Orders. One general lift/move plan is
               acceptable for daily truck off-loading and material staging. All equipment operators must
                be certified for operation - Provide certification paperwork upon request.
          h.   Special Inspections - Coordinate directly with Owner's Deputy Inspector to schedule and
               complete special inspections per the contract documents. Provide copies of inspection
               reports to Site CM.
          i.   FF&E Scope of Work - Coordinate Contractor trade work as necessary for interface with
               FF&E installations.



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   3.   Project Management

            a.   Project Manager - Contractor shall assign a Project Manager as the single point of contact
                 responsible for contracts, scheduling, invoicing, change orders, permitting, and other
                 tasks necessary manage the project.
            b.   Payment Applications - Submit a detailed invoice/payment application to Owner's PM
                 each month as stated in the Contract for work completed through the end of the previous
                 month. Invoicing is to be consistent with AIA document G702s, with backup consistent with
                 AIA Document G703S. Attach signed conditional progress lien releases for the current
                 application period and signed unconditional progress lien releases for funds received on
                 prior applications.
           c.    Final Retention Payment only upon completion of construction, Owner/ PM/ Architect's
                 satisfactory inspection, and "Unconditional Waiver and Release Upon Final Payment"
                 provided by Contractor.


   4.   Completion and Close-Out

           a.    Pre-Punch Walks - Perform pre-punch walks with Site CM as appropriate as work in each
                 area is substantially complete.
           b.    Final Punch Walk and Punch List - Attend final punch walk with Site CM, Owner's PM and
                 Owner representatives. Complete punch list items in a timely manner and obtain Site CM
                 approval.
           c.    Provide Owner training for all MEP systems and Contractor provided and/or installed
                 equipment.
            d.   Contractor shall provide complete project close-out documentation in hard copy and
                 digital form, including but not limited to:
                         i. Owner training documentation
                        ii. As-built redlines
                      iii. Operation and maintenance manuals
                       iv. Quality control records
                        v. Contractor warranties
                       vi. Attic stock of materials
                      vii. Unconditional lien releases for Contractor and vendors




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   Contractor proposals must include the following information at a minimum:


   1.   Scope of Work
           a.    Except as otherwise expressly provided herein, the Contractor shall furnish and supply,
                 without limitation, all labor, supervision, tools, equipment, installed and consumable
                 materials, taxes, services, testing devices, warehousing, all permits to construct, and
                 each and every item of expense necessary for the supply, fabrication, field erection, field
                 engineering, application, handling, hauling, unloading, receiving, installation,
                 construction, assembly, testing, evaluation and quality assurance required for the
                 completion of the construction of the Project.
           b.    Provide a detailed scope of work listed by project area: Ground Floor, 2 nd Floor, 4 th Floor,
                 5 th Floor, 6th Floor, 7 th Floor, Pool Deck, Central Plant, other areas if applicable.
            C.   Include coordination with all interfacing trades necessary for complete installations per
                 construction documents.
   2. Safety
           a.    Furnish a current copy of Contractor's Injury, Illness, and Prevention Plan
           b.    Provide Contractor's current EMR and OSHA 300 forms for last three (3) years.
            C.   Prepare a project-specific Safety Plan with the company Safety Competent Person
                 Identified for review and approval by Owner's PM. Safety Plan shall be updated/adjusted
                 as necessary to accommodate changing site conditions.
   3.   Manpower
           a.    Specify minimum, maximum, and average crew size expected to complete the project.
           b.    Quantity of parking stalls required. Assume parking will be provided in The Source on-site
                 parking structure for passenger vehicles, and one (1) utility vehicle.
   4.   Qualifications and Exclusions
           a.    Any qualifications or exclusions must be specified on the proposal.
           b.    Specify material and equipment assumed to be provided by Owner if applicable.
            c.   Note any discrepancies between project drawings and scope of work included in your
                 proposal.
   5.   Stipulated Sum
            a.   Provide stipulated sum costs, broken down per Projectmates entry.
           b.    Stipulated Sum price shall include all direct costs, overhead, and profit associated with
                 completing the project scope of work.
            c.   Allowances - Specify assumed scope of work and dollar amount for each allowance
                 included in Stipulated Sum.
           d.    Work Hours - Bids are to be based on a 5 day/week (M-F), 8 hour/day work schedule,
                 normal hours in compliance with City of Buena Park construction ordinance. In addition,
                 bid shall include off-hours labor for utility cutovers, service connections and similar work
                 as required.
   6.   Payment & Performance Bond - A payment and performance bond shall be required for all
        contracts over $100,000. Bond rate and bond cost shall be specified on the Bid Form.
   7.   Unit Costs and Alternates
            a. Provide hourly rates for field labor and management.


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            b.  Proposal should include alternates deemed appropriate by Contractor, including scope of
                work and stipulated sum cost.
   8.   Schedule - Specify durations for your work by project area. Provide a written statement affirming
        your firm's commitment to meeting the Project Schedule (ATTACHMENT F).
   9.   Contract Form of Agreement - Include in proposal a statement accepting contract terms and
       conditions stated in AIA Contract form ATTACHMENT D. Owner will not consider any
       modifications to the terms of the contract documents unless such requested changes are stated
       in the proposal and do not alter the intent. In any case, all changes are subject to Owner
       approval.
   10. Subcontracts -_All subcontractors and suppliers shall be contracted under the same terms as
       stated in the agreement between Owner and the Contractor.


   ADDITIONAL REQUlREMENTS

   The following additional terms shall apply:
   1.   Licenses.,_
            a.   Contractor must have a valid and current State of California 8-General Contractor or C­
                 Specialty Contractor license listed in good standing on: https://www.cslb.ca.gov/
            b.   City of Buena Park Business License
            c.   All required licenses must be maintained current and in good standing throughout the
                 project duration.
            d.   Contractor, subcontractors, and vendors are responsible for furnishing their own
                 flagman, traffic control, and lift riggers (if required), as required to complete the Scope of
                 Work.
   2.   Insurance.
            a.   Contractor will procure and maintain at its own expense and throughout the course of
                 construction insurance, of the types and with at least the minimum limits stated in the
                 Contract (ATTACHMENT D), in full force and effect during the term thereof with insurer(s)
                 and policy terms satisfactory to Owner.
            b. All policies shall not exclude commercial construction.
            c.   Each policy shall name Owner, its affiliates, directors, officers, employees or agents as an
                 additional insured for any claims, accidents, or injuries, which may occur relating to the
                 work to be performed under this contract and shall provide not less than thirty (30) days
                 prior written notice to Owner of any change or cancellation of coverage. Contractor shall
                 provide Owner with certificate of insurance evidencing such insurance prior to the start of
                 work.
            d.   Companies with which insurance is placed shall have received an A.M. Best's rating of A­
                 VII or better.
            e.   Certificates of Insurance must be delivered to Owner and Owner's PM prior to
                 commencement of job.
   3.   Indemnification. Contractor shall indemnify and hold Owner, its affiliates, directors, officers,
        agents, and employees harmless from all claims, actions, damages, liabilities, and expenses, as
        stated in the Contract.

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   1.   NOTE: Contractor Contract will include a contract rider with the following language relative to
        Unavoidable Delays and the Novel Coronavirus ("COVID-19"):

        UNAVOIDABLE DELAYS: Any delays or failure by Contractor in performance hereunder shall be
        excused if and to the extent caused by occurrences beyond Contractor's reasonable control
        including, but not limited to, acts, omissions, decrees, or restraints of Federal, State, or Local
        government, acts of God, strikes or other labor disturbances, war and inability to obtain
        necessary equipment, facilities or supplies, or infections or outbreaks of the Novel Coronavirus
        ("COVID-19") at the Project site. Notwithstanding the foregoing, no emergency order issued by the
        Orange County, nor any other city, county, state or federal emergency orders, laws, regulations, or
        other emergency legal authority in effect as of the Effective Date that address the ongoing COVID-
        19 pandemic, nor the mere existence of the COVID-19 pandemic, without more, shall constitute
        an unavoidable delay as defined in this Rider. If either Party discovers that one of its agents,
        employees, directors, officers, or contractors has been infected with COVID-19, that party shall
        immediately notify the other Party. In such an event, the Parties shall take all reasonable and
        necessary precautions to prevent the further spread of the virus amongst the Parties and their
        agents, employees, directors, officers and contractors. If Contractor claims unavoidable delays,
        Contractor shall give prompt written notice to Owner, specifying particulars thereof. Upon
        receiving such notice, Contractor and Owner agree to promptly meet and confer regarding the
        nature and existence of the claimed unavoidable delay, and to negotiate a new schedule for
        completion of project in writing, if appropriate.




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   RFPATTACHMENTS

   The following attachments are hereby incorporated into the RFP as bid documents. RFP attachments
   or updated versions thereof will be incorporated as attachments to the Contractor construction
   contract:

       ATTACHMENT A- Project Completion Scope of Work, dated 4/29/2021, 10 pages.

       ATTACHMENT B - Trade-Specific Scope of Work. (typ. 4 pages)

       ATTACHMENT C - Bid Form, Excel Spreadsheet

       ATTACHMENT D - Form of Contract

       ATTACHMENT E - Project Drawings, by DKY Architects, Inc.

       ATTACHMENT F - Project Schedule, dated 4/29/2021, 3 pages.




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                                      Scope ofWork Summary
                                              4./14./2021

 Client/Facility Name:              Shady Bird Lending-The Source Hotel

 Project Name:                      The Source Hotel
 Facility Address:                  6988 Beach Boulevard, Buena Park, CA. 90621

 Project Manager:                   Carine, Inc.




 Project Overview

 The Source Hotel is a planned 178-key hotel located in Buena Park, California. It is part of an
 operational mixed-use development that includes retail, commercial offices, and a parking structure.
 Construction on the Hotel stopped in mid-2020, however, the project is being restarted by Shady Bird
 Lending, LLC (SBL). Preconstruction began in April 2021 with Carine, Inc. (Carine) serving as the
 Owner's Project Manager. The City of Buena Park, Orange County Health Department original building
 permits will be renewed or reinstated, and the project will begin construction by early Summer 2021
 under and CM-Multi-Prime delivery method. The estimated project schedule is twelve (12) months
 from construction start to hotel opening.

 The hotel project includes the following areas:

 1.   1'1 Floor -15,549 GSF: Porte Cochere/Valet, Lobby, Guest Reception, Lounge, Executive Lounge
      and Technology Center, Restaurant and Bar with full commercial kitchen, Restrooms, and staff
      office areas.

 2.   2nd Floor - 11,000 GSF (estimated): Conference Center with five (5) Meeting Rooms, Pre-Function
      Area, Training Room, Prep Kitchen, Restrooms, and staff offices and support rooms.

 3. Floors 4-7 - 90,774 GSF: 178 guest rooms and suites supported by interior corridors and support
      areas. There is a fitness room on the 4 th floor.

 4.   Pool Deck -12,000 SF (approx.): Includes guest swimming pool, poolside bar, restrooms, guest
      shower, and a pool equipment room.

 5.   Hotel Building Infrastructure

      a.   Elevators and Stair Wells - There are two (2) guest elevators and one (1) service elevator
           serving Floors 1, 2 and 4-7. There are three fire rated stair wells serving the hotel building.
           There is no access to the 3 rd Floor retail area from the hotel building.

      b.   Central Plant - The hotel mechanical central plant is located on the north roof above the
           retail building (Hotel 4 th Floor level). The plant includes air-cooled chillers, cooling towers,
           heating hot water boilers, domestic hot water system, and associated pumps and piping. The
           central plant is accessed from the 4th Floor Pool Deck.




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     c.   Domestic Water Supply - Water is supplied by a 6-inch service on the east side of the
          property and appears to serve the hotel and retail buildings.The domestic pump room is on
          the 1st Floor located off of the Porte Cochere, and contains a domestic booster pump, and a
          soft water system with three (3) large tanks dedicated to the hotel.

     d.   Fire Protection -The Fire Pump Room is located on the ground floor and contains a vertical,
          turbine fire pump with an approximately 45,000-gallon fire water storage tank below the
          room. The fire pump and tank serve fire sprinklers and standpipes for the hotel and the
          parking structure. Fire water is supplied by a 6-inch fire service that services the retail
          building and make-up water for the fire water tank.

          Fire Alarm System -The main fire alarm panel with fire department voice command system is
          in the Main Fire Control Room, accessed from Brenner Avenue on the east side of the
          property. The fire alarm panel serves the hotel and other portions of the mixed-use facility.
          The system does not include a dedicated panel for the Hotel. OCFA may require a dedicated
          panel for the Hotel.

     e.   Emergency Generator -The emergency generator is located in a dedicated room accessed
          from Orangethorpe Avenue on the south side of the property. The generator serves the hotel
          and may serve other portions of the facility.

 Scope ofWork Outline

 1) Envelope/Porte Cochere/Pool & Pool Deck
     a)   Building Envelope -The hotel building envelope is substantially complete. TheTPO roof
          membrane on the 7-story tower requires some repairs (warranty work) and flashing/sealing at
          all MEP penetrations must be completed. TheTPO membrane at the 4th Floor Central Plant
          requires some repairs/touch-up when central plant MEP work is completed. Portions of the
          EIFS system and flashing are incomplete at the 7th Floor guest room balconies (North side).
          i)   Thermal & Moisture Protection-071000 Waterproofing, 075000 Roofing,
          ii) Openings-081300 Metal Doors, 084100 Entrances and Storefront, 085100 Metal Windows,
               089000 Louvers and vents,
          iii) Finishes-092600 EFIS,


     b) Porte Cochere -The building envelope appears to be complete with the exception of the
          ceiling of the Porte Cochere. The automatic doors have been installed, but it is not clear if the
          power has been connected or if the door installation is complete. The fire sprinkler system
          was installed surface mounted to the bottom of the Second Floor above the Porte Cochere.
          The fire sprinkler system needs to be re-configured so that a ceiling can be installed at the
          Porte Cochere with an adjusted lay-out. The Porte Cochere includes a Valet Room which is not
          complete. The door to the Valet Room is installed but hardware has not been completely
          installed. Minor repair work to the interior finishes of the valet Room will be required. The
          electrical, and fire alarm rough installation appears to be complete, but MEP and fire alarm
          finishes have not been installed. A landscape planter is located within this area and is




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           incomplete. The landscaping has not been installed and it is not known if irrigation and
           drainage rough installation have been provided to this planter.
           i)    Thermal & Moisture Protection - 071000 Waterproofing
           ii)   Openings - 081300 Metal Doors, 084100 Entrances and Storefront, 085100 Metal
                 Windows, 089000
           iii) Finishes - 092600 EFIS, 095400 Specialty Ceilings, 096100 Flooring Treatment
           iv) Fire Suppression - 211300 Fire sprinklers, 284700 Mass Notification,
           v)    Electrical - 260500 Electrical Finish
           vi) Life Safety - 284600 Fire Alarm


      c)   Pool & Pool Deck - The pool construction is incomplete. The pneumatically applied concrete
           has been installed and the utilities to the pool has been roughed in. The pool coping and
           waterline tile has been installed. The pool equipment has not been installed. The pool deck
           has been waterproofed, and the pool deck drain lines have been installed. The waterproofing
           material has been exposed to UV rays, and weather and may need to be overlayed with an
           additional membrane. The slope of the deck to the drains may need to be improved as
           currently maintains minimum slopes. The pool deck finish currently designed with for a
           topping slab will receive pedestal pavers. The exterior shower construction is incomplete and
           is drywalled and plumbing roughed in only. This shower is lacking all the finish material
           installation. The Pool Bar is incomplete. Currently, only the steel structure for the Pool Bar is
           installed. The sliding glass doors from the guestrooms to the pool deck need to be cleaned
           and adjusted for improved operation.
           i)    Thermal & Moisture Protection-071000 Waterproofing
           ii)   Openings - 081300 Metal Doors, 083200 Sliding Glass Doors
           iii) Finishes-096200 Specialty Flooring Pedestal Pavers
           iv) Food Service Equipment - 114000 Food Service Equipment-Pool Bar
           v)    Special Construction-033700 Pneumatically placed concrete, 131100 Swimming Pools,
                 130800 commissioning of Swimming Pools
           vi) Plumbing-221000 Plumbing Piping, 224200 Commercial Water Fixtures, 225000 Pool
                 Plumbing Systems
           vii) Electrical-260500 Common Work Results for Electrical, 265600 Exterior Lighting,
           viii) Communications-281000 Access Control
           ix) Life Safety-284600 Fire Detection and Alarm, 284700 Mass Notification,


 2)   Building Infrastructure
      a)   HVAC - The 4th Floor Central Plant provides water to the guestroom water source heat pumps
           and heating hot water and chilled water to tower roof top air handler units. All piping
           distribution (horizontal mains and risers appear to be installed and tested. Air handlers
           serving the hotel public spaces are not installed on the tower roof (stored in the parking
           structure) Toilet exhaust fans are staged on the tower roof but not installed.
           The HVAC controls system (Building Management System) head-end equipment is installed at
           the 4 th Floor Central Plant. The status of the completion of the controls installation is



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          undetermined. The rough-in in the guestrooms appear to be complete. The equipment in the
          4th Floor central plant is not anchored to the equipment racks and will need to be anchored
          per the equipment manufacturer. The central plant systems will need to be evaluated for
          completeness, and suitability for startup. HVAC finishes will need to be installed throughout
          the project. Equipment startup, test and balancing of the HVAC system, controls
          programming, and commissioning will need to be performed.
          i)   HVAC- 230500 Common work results for HVAC, 230700 HVAC insulation, 230800
               commissioning of HVAC , 230900 Instrumentation and Control for HVAC, 233813 Diffusers,
               Registers, and Grilles


     b) Plumbing - Domestic water, waste and vent systems appear to be complete and tied into the
          City water supply and wastewater connections. The water is supplied by a 6-inch service on
          the East side of the property and appears to serve the hotel and retail buildings. Domestic
          pump and soft water system appear to be complete and ready for service. Domestic hot water
          boilers are installed and connected but have not been seismically anchored or tested. The
          grease interceptor installation is unknown. The plumbing rough installation is complete, and
          the plumbing finish installation appears to be complete on the 4 th and 5th Floors.
          i)   Plumbing- 224000 Plumbing Fixtures, 224200 Commercial Plumbing Fixtures, 224700
               Drinking Fountains, 225100 Swimming Pool Plumbing Systems


     c)   Fire Sprinkler System -The fire sprinkler and standpipe risers were installed, connect to the
          fire pump and appear to be in service with valves open and water pressure showing on
          gauges. Fire sprinkler systems on each floor have been hydrostatically tested, inspected, and
          are tied into risers. There is an interstitial space between the 3rd and 4th Floors with access
          from the 4th Floor via access panels that currently is not covered by sprinklers. Orange County
          Fire Authority (OCFA) may require that this area be covered.
          i)   Fire Sprinkler System- 210500 Common Work Results for Fire Suppression, 211200 Fire­
               Suppression Standpipes, 211300 Fire-Suppression Sprinkler System, 211600 Fire­
               Suppression Pressure Maintenance Pumps


     d)   Fire Alarm -The main fire alarm panel with fire department voice command system is in the
          Main Fire Control Room for the mixed-use development. There currently is not a separate
          dedicated panel for the hotel.
          i)   Fire Detection and Alarm - 284600 Fire Detection and Alarm, 284700 Mass Notification


     e)   Low Voltage Systems -Horizontal cabling on the guestroom floors (4-7) and Ground Floor
          public areas has been installed and connectivity test completed. Horizontal cabling must be
          installed at the back offices, reception desk, pool deck, and the Second Floor. All vertical
          cabling must be installed, all systems performance-tested, and system equipment installed.
          The work covers the eight (8) systems: Network/WiFi, Point-of-Sale (POS), Cable TV,
          Security/CCTV, Access Control, Audio/Video, Telephone system (iPBX), Public Safety Radio
          (ERRCS), and the house music.



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           i)    Low-Voltage Systems - 270500 Common Work Results for Communications, 271000
                 Structured Cabling, 272000 Data Communications Network Equipment, 273000 Voice
                 Communications, 274000 Audio-Video Communication, 275000Distributed
                 Communications and Monitoring Systems


      f)   Elevators -There are two (2) guest elevators and one (1) service elevator serving Floors 1,2,
           and 4 thru 7. There is no access to the 3 rd Floor retail area from the hotel building. All three
           elevators appear to be substantially complete. Call lanterns and buttons are missing on all
           floors, and the service elevator has the protective plywood sheathing installed which will
           remain throughout the construction duration.



 3)   First Floor Areas
      a)   Lobby-Wall framing and MEP rough-in appear to be complete. Drywall is installed in some
           areas and is approximately 20% complete. Doors and door frames are not installed. Painting
           and wallcovering is 0% complete, Flooring is 0% complete. Sprinkler system lines are
           installed but the finish needs to be installed.
           i)    Architectural Woodwork - 064100 Interior Architectural Woodwork
           ii)   Openings - 081000 Doors and Frames, 083100 Access Doors and Frames
           iii) HVAC Finishes - 233813 Diffusers, Registers, and Grilles
           iv) Finishes-092116 Gypsum Board Assemblies, 095400 Specialty Ceilings, 096800
                 Carpeting, 096300 Stone Flooring, 099000 Painting, 101400 Signage, 102600 Wall and
                 Door Protection
           v)    Restroom Accessories - 102100 Toilet Partitions, 102800 Restroom Accessories
           vi) Artwork - 121200 Wall Decorations
           vii) Window Treatments- 122100 Window Blinds, 122200 Curtains and Drapes
           viii) FF& E - 124800 Rugs & Mats, 125400 Hospitality Furniture
           ix) Fire Suppression- 211300 Fire Sprinkler System, 212000 Fire Extinguishing System
           x)    Plumbing- 224200 Commercial Plumbing Fixtures, 224700 Drinking Fountains
           xi) HVAC Distribution - 233200 HVAC Ducts and Casings
           xii) Communication - 270500 Common Work Results for Communications
           xiii) Access Control - 281000 Access control
           xiv) Life Safety -284600 Fire Detection and Alarm, 284700 Mass Notification


      b)   Kitchen/Restaurant & Bar/lounge & Pantry- The Kitchen and Bar are framed with some
           drywall installed. The Kitchen has been roughed in for MEP and the main kitchen hood is
           installed. The Ansul system was not observed to be installed in the hood. The ceilings have
           not been installed. The food service equipment has not been installed.
           i)    Architectural Woodwork - 064100 Interior Architectural Woodwork,
           ii)   Openings - 081000 Doors and Frames, 083100 Access Doors and Frames
           iii) HVAC Finishes- 233813 Diffusers, Registers, and Grilles




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          iv) Finishes-092116 Gypsum Board Assemblies, 095400 Specialty Ceilings, 096800
                Carpeting, 096300 Stone Flooring, 099000 Painting, 101400 Signage, 102600 Wall and
                Door Protection
          v)    Restroom Accessories - 102100 Toilet Partitions, 102800 Restroom Accessories
          vi) Food Service Equipment- 114000 Food Service Equipment
          vii) Artwork - 121200 Wall Decorations
          viii) Window Treatments - 122100 Window Blinds, 122200 Curtains and Drapes
          ix) FF& E- 124800 Rugs & Mats, 125400 Hospitality Furniture
          x)    Fire Suppression - 211300 Fire Sprinkler System
          xi) Plumbing- 224200 Commercial Plumbing Fixtures
          xii) HVAC Distribution- 233200 HVAC Ducts and Casings,
          xiii) Communication - 270500 Common Work Results for Communications
          xiv) Access Control- 281000 Access control
          xv) Life Safety-284600 Fire Detection and Alarm, 284700 Mass Notification


     c)   Back-of-House - Wall framing and MEP rough-in appear to be complete. Drywall is installed
          in some areas and is approximately 20% complete. Doors and door frames are not installed.
          Painting and wallcovering is 0% complete, Flooring is 0% complete. Sprinkler system lines
          are installed but the finish needs to be installed.
          i)    Architectural Woodwork - 064100 Interior Architectural Woodwork,
          ii)   Openings - 081000 Doors and Frames, 083100 Access Doors and Frames
          iii) HVAC Finishes- 233813 Diffusers, Registers, and Grilles
          iv) Finishes-092116 Gypsum Board Assemblies, 096800 Carpeting, 099000 Painting, 101400
                Signage, 102600 Wall and Door Protection
          v)    Storage Specialties-105100 Metal Lockers
          vi) Artwork - 121200 Wall Decorations
          vii) Window Treatments - 122100 Window Blinds, 122200 Curtains and Drapes
          viii) FF& E- 125400 Hospitality Furniture
          ix) Fire Suppression - 211300 Fire Sprinkler System
          x)    Plumbing- 224200 Commercial Plumbing Fixtures
          xi) HVAC Distribution- 233200 HVAC Ducts and Casings,
          xii) Communication - 270500 Common Work Results for Communications
          xiii) Access Control- 281000 Access control
          xiv) Life Safety-284600 Fire Detection and Alarm, 284700 Mass Notification


     d)   Executive Suites - Wall framing and MEP rough-in appear to be complete. Drywall is installed
          in some areas and is approximately 20% complete. Doors and door frames are not installed.
          Painting and wallcovering are 0% complete, Flooring is 0% complete. Sprinkler system lines
          are installed but the finish needs to be installed.
          i)    Architectural Woodwork - 064100 Interior Architectural Woodwork,
          ii)   Openings - 081000 Doors and Frames, 083100 Access Doors and Frames
          iii) HVAC Finishes- 233813 Diffusers, Registers, and Grilles



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           iv) Finishes-092116 Gypsum Board Assemblies, 096800 Carpeting, 099000 Painting, 101400
                 Signage, 102600 Wall and Door Protection
           v)    Artwork - 121200 Wall Decorations
           vi) Window Treatments - 122100 Window Blinds, 122200 Curtains and Drapes
           vii) FF& E - 125400 Hospitality Furniture
           viii) Fire Suppression - 211300 Fire Sprinkler System
           ix) Plumbing - 224200 Commercial Plumbing Fixtures
           x)    HVAC Distribution - 233200 HVAC Ducts and Casings,
           xi) Communication - 270500 Common Work Results for Communications
           xii) Access Control - 281000 Access control
           xiii) Life Safety -284600 Fire Detection and Alarm, 284700 Mass Notification


 4)   Second Floor Areas
      a)   Conference Center - Wall framing and MEP rough-in appear to be mostly complete. Drywall is
           installed on the walls and are 90% complete. The ceiling framing appears to be complete;
           however, no ceiling drywall is installed. Suspended ceilings at back-of-house areas are not
           installed. Fire sprinkler appears to be installed, but no confirmation of the system being
           charged. Doors and door frames are not installed. Painting and wallcovering are 0% complete,
           Flooring is 0% complete.
           i)    Architectural Woodwork - 064100 Interior Architectural Woodwork,
           ii)   Openings - 081000 Doors and Frames, 083100 Access Doors and Frames
           iii) HVAC Finishes - 233813 Diffusers, Registers, and Grilles
           iv) Finishes-092116 Gypsum Board Assemblies, 096800 Carpeting, 099000 Painting, 101400
                 Signage, 102600 Wall and Door Protection
           v)    Artwork - 121200 Wall Decorations
           vi) Window Treatments - 122100 Window Blinds, 122200 Curtains and Drapes
           vii) FF& E - 125400 Hospitality Furniture
           viii) Fire Suppression - 211300 Fire Sprinkler System
           ix) Plumbing - 224200 Commercial Plumbing Fixtures
           x)    HVAC Distribution - 233200 HVAC Ducts and Casings,
           xi) Communication - 270500 Common Work Results for Communications
           xii) Access Control - 281000 Access control
           xiii) Life Safety -284600 Fire Detection and Alarm, 284700 Mass Notification,


 5)   Hotel Floors 4-7
      a)   4th Floor -The construction of the guestroom on the Fourth Floor appears to be substantially
           complete. The guestroom finishes, bathroom showers, vanities and plumbing finishes have
           been installed. The operability of the plumbing fixtures cannot be determined at this time.
           The guestroom fire sprinkler, fire alarm, and electrical finishes installation appears to be 0%
           complete. The guestroom entry doors are installed but the locks are not installed. Corridor
           drywall and wallcovering installations appear to be complete; but may need to be repaired in




 The Source Hotel            21 -119 SourceHotel-Trade RFP-Compleuon SOW Summary.docx21          4/29/2021
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 � Carine Inc.
                                         ATTACHMENT A

          some areas. Guestroom carpet is over 90% complete; but corridor carpet installation is 0%
          complete. Corridor electrical, fire sprinkler, and fire alarm finishes are 0% complete.
          i)    Architectural Woodwork - 064100 Interior Architectural Woodwork,
          ii)   Openings - 081000 Doors and Frames, 083100 Access Doors and Frames
          iii) HVAC Finishes- 233813 Diffusers, Registers, and Grilles
          iv) Finishes-096800 Carpeting, 097200 Wall covering, 099000 Painting, 101400 Signage,
                102600 Wall and Door Protection
          v)    Artwork - 121200 Wall Decorations
          vi) Window Treatments - 122100 Window Blinds, 122200 Curtains and Drapes
          vii) FF& E - 125400 Hospitality Furniture
          viii) Fire Suppression - 211300 Fire Sprinkler System
          ix) Plumbing- 224100 Residential Plumbing Fixtures
         x)     HVAC Distribution - 233200 HVAC Ducts and Casings,
          xi) Communication - 270500 Common Work Results for Communications
          xii) Access Control - 281000 Access control
          xiii) Life Safety-284600 Fire Detection and Alarm, 284700 Mass Notification


     b) 5 th Floor -The guestroom drywall installation appears to be complete, and the finish of the
          drywall is approximately 85% complete. The vanities/millwork installation, plumbing finish,
          and shower glass installation are approximately 85% complete (not installed at the
          Southwest corner, lift station in-fill). The flooring installation - Bathroom floor tile
          installation is approximately 90% complete. The guestroom doors are installed but locks have
          not been installed. The guestroom fire sprinkler, fire alarm, and electrical finishes need to be
          installed. Corridor drywall wallboard finishes appear to be 90% complete; corridor drywall
          ceiling installation is approximately 90% complete. Corridor carpet installation is 0%
          complete. Corridor electrical, fire sprinkler fire alarm finishes are 0% complete.
          i)    Architectural Woodwork - 064100 Interior Architectural Woodwork,
          ii)   Openings - 081000 Doors and Frames, 083100 Access Doors and Frames
          iii) HVAC Finishes - 233813 Diffusers, Registers, and Grilles
          iv) Finishes-096800 Carpeting, 097200 Wall covering, 099000 Painting, 101400 Signage,
                102600 Wall and Door Protection
          v)    Artwork - 121200 Wall Decorations
          vi) Window Treatments- 122100 Window Blinds, 122200 Curtains and Drapes
          vii) FF& E - 125400 Hospitality Furniture
          viii) Fire Suppression - 211300 Fire Sprinkler System
          ix) Plumbing- 224100 Residential Plumbing Fixtures
          x)    HVAC Distribution- 233200 HVAC Ducts and Casings,
          xi) Communication - 270500 Common Work Results for Communications
          xii) Access Control- 281000 Access control
          xiii) Life Safety-284600 Fire Detection and Alarm, 284700 Mass Notification




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 � Carine Inc.
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     c)   6 th Floor -The guestroom drywall installation appears to be complete, and the finish of the
          drywall is approximately 90% complete. The vanities/millwork installation is approximately
          90% complete and the plumbing is 50% complete (not yet installed at showers) and
          guestroom carpet is approximately 75% complete. Guestroom interior doors installation
          appears to be approximately 75% complete. The guestroom entry doors are installed but the
          locks are not installed. The guestroom fire sprinkler, fire alarm, and electrical finishes need to
          be installed. Corridor drywall wallboard finishes appear to be 90% complete and drywall
          finish is approximately 25% complete; corridor drywall ceiling installation is approximately
          50% complete and drywall finish is 0% complete. Corridor carpet installation is 0% complete.
          Corridor electrical, fire sprinkler fire alarm finishes are 0% complete.
          i)    Architectural Woodwork - 064100 Interior Architectural Woodwork,
          ii)   Openings - 081000 Doors and Frames, 083100 Access Doors and Frames
          iii) HVAC Finishes - 233813 Diffusers, Registers, and Grilles
          iv) Finishes-096800 Carpeting, 097200 Wall covering, 099000 Painting, 101400 Signage,
                102600 Wall and Door Protection
          v)    Artwork - 121200 Wall Decorations
          vi) Window Treatments- 122100 Window Blinds, 122200 Curtains and Drapes
          vii) FF& E - 125400 Hospitality Furniture
          viii) Fire Suppression- 211300 Fire Sprinkler System
          ix) Plumbing- 224100 Residential Plumbing Fixtures
          x) HVAC Distribution- 233200 HVAC Ducts and Casings,
          xi) Communication - 270500 Common Work Results for Communications
          xii) Access Control - 281000 Access control
          xiii) Life Safety-284600 Fire Detection and Alarm, 284700 Mass Notification


     d) 7th Floor -The guestroom drywall installation appears to be approximately 60% complete, and
          the finish of the drywall is 0% complete. The vanities/millwork installation is 0% complete
          and the plumbing finishes installation is 0% complete and glass installation is 0% complete.
          Wallcovering installation is 0% complete. HVAC rough-in appears to be complete. Electrical
          and plumbing rough-in work is approximately 90% complete. The flooring installation­
          guestroom tile is approximately 90% complete, carpet is 0% complete. Guestroom interior
          doors and entry doors are 0% complete. Corridor drywall installation is approximately 50%
          complete. Corridor carpet installation is 0% complete. Corridor electrical, fire sprinkler fire
          alarm finishes are 0% complete.
          i)    Architectural Woodwork - 064100 Interior Architectural Woodwork,
          ii)   Openings - 081000 Doors and Frames, 083100 Access Doors and Frames
          iii) HVAC Finishes- 233813 Diffusers, Registers, and Grilles
          iv) Finishes-096800 Carpeting, 097200 Wall covering, 099000 Painting, 101400 Signage,
                102600 Wall and Door Protection
          v)    Artwork - 121200 Wall Decorations
          vi) Window Treatments - 122100 Window Blinds, 122200 Curtains and Drapes
          vii) FF& E - 125400 Hospitality Furniture



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 � Carine Inc.
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         viii) Fire Suppression - 211300 Fire Sprinkler System
         ix) Plumbing- 224100 Residential Plumbing Fixtures
         x)   HVAC Distribution - 233200 HVAC Ducts and Casings,
         xi) Communication - 270500 Common Work Results for Communications
         xii) Access Control- 281000 Access control
         xiii) Life Safety-284600 Fire Detection and Alarm, 284700 Mass Notification


                             ***END OF SCOPE OF WORK SUMMARY***




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Andy Trost

From:                                      Cyril Mario < cmario@eltscorp.com >
Sent:                                      Tuesday, May 18, 2021 1 :48 PM
To:                                        James Roberts
Cc:                                        Andy Trost
Subject:                                   RE: The Source Site Meeting - Low Voltage


ELTS was brought onto the Source Hotel Project in August of 2018. Our many roles included the following:

-Review current plans and drawings
-Oversee Newgens Inc
-Technology Procurement
-Internet Circuit Procurement and contracts
-Guest HSIA Vendor quotes and management
-Guestroom Entertainment Vendor quotes and management
-Phone system Vendor quotes and management
-Due diligence of existing plans and manage Technology construction

After reviewing some of the proposals which were already going forward we discovered that:

-The phone equipment being sold to the hotel by Newgens was old phone equipment which had reached end of life at
that time (support was ending) for what we considered was an egregious amount. We verified this through a 3rd party
phone company. Also didn't have Call Accounting, Voicemail Integration. Wifi HSIA not approved by Hilton. Guestroom
entertainment is not an approved Hilton provider.

-The cabling proposal didn't have a certification phase (where each cable run would need to have higher level of testing
instead of just continuity)

-After securing quotes for the vendor contracts, we were able to find much newer equipment for a lower price than
provided by Newgens.

We raised a red flag to ownership regarding this findings and met with pushback from Newgens. We were at a meeting
where we explained to them that this phone equipment being sold to the hotel by Newgens was EOS and that we
needed to keep the best interest of the property itself and the ownership group in consideration. After having an
argument in the meeting with Ted, we were informed by Ted that he is also an owner of this hotel and to just let them
handle this. We stated that this was unethical from our viewpoint. We were quickly pulled off of the project.

Cyril Mario
.. Please note new mailing address below
Enterprise Level Technology Solutions
16478 Beach Blvd. #288
Westminster, CA 92683
949.612.1415 x3001

strategic . dynamic . efficient

From: Cyril Mario
Sent: Monday, May 17, 20 2112:49 PM
To: James Roberts <jroberts@carineinc.com>




                                                                                             EXHIBIT A 0061
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Cc: Andy Trost <atrost@carineinc.com>
Subject: RE: The Source Site Meeting - Low Voltage

Hello James,

We are finishing up the quick write up on what happened when we were involved with the project.

You should have it by EOD

Cyril Mario
..Please note new mailing address below
Enterprise Level Technology Solutions
16478 Beach Blvd. #288
Westminster, CA 92683
949.612.1415 x3001

strategic . dynamic . efficient

From: James Roberts <jroberts@carineinc.com>
Sent: Friday, May 14, 2021 10:52 AM
To: Cyril Mario <cmario@eltscorp.com>
Cc: Andy Trost <atrost@carineinc.com>
Subject: RE: The Source Site Meeting - Low Voltage


Hi Cy:

It was really great to meet you and Marcello. I just wanted to follow up with you on the email report you were going to
send us.

Also, you mentioned, that you could send us a list of contractors that are qualified to do the work. Please send and we
will reach out to them. Thanks again for all your assistance.

I also left you a voice mail message.

Regards

James Roberts
951 365 8204

Sent from my Galaxy




-------- Original message --------
From: Cyril Mario <cmario@eltscorp.com>
Date: 5/13/21 9:00 AM (GMT-08:00)
To: Albert Barcelo <abarcelo@carineinc.com>, James Roberts <jroberts@carineinc.com>, Gloria Torres
<Grossi@cordesco.com>
Cc: Andy Trost <atrost@carineinc.com>, Bellann Raile <bellann@cordesco.com>
Subject: RE: The Source Site Meeting - Low Voltage

FYI we are at the entrance area to the construction office.
                                                              2


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Cyril Mario
.. Please note new mailing address below
Enterprise Level Technology Solutions
16478 Beach Blvd. #288
Westminster, CA 92683
949.612.1415 x3001

strategic . dynamic . efficient



-------- Origi na I message --------
From: Albert Barcelo <abarcelo@carineinc.com>
Date: 5/11/21 1:46 PM (GMT-08:00)
To: James Roberts <jroberts@carineinc.com>, Cyril Mario <cmario@eltscorp.com>, Gloria Torres
<Grossi@cordesco.com>
Cc: Andy Trost <atrost@carineinc.com>, Bellann Raile <bellann@cordesco.com>
Subject: The Source Site Meeting - Low Voltage

On site meeting, please forward to your colleagues as required. Thank you!




                                                           3


                                                                                         EXHIBIT A 0063
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                   EXHIBITB
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 BtfENAti:)PARK
                                                                       Office of the City Attorney
May 14, 2021

VIA OVERNIGHT DELIVERY
AND EMAIL

Mr. Donald Chae
Mr. Min Chae
The Source at Beach, LLC
3100 E. Imperial Highway
Lynwood, California 90262

Copy to:

The Source Hotel, LLC                                    Daniel A. Lev, Esq.
Summer Bridges                                           SulmeyerKupetz
Agent for Service of Process                             333 South Grand Avenue, Suite 3400
6988 Beach Blvd., B-215                                  Los Angeles, CA 90071
Buena Park, CA 90621                                     dlev@sulmeyerlaw.com

Raymond B. Kim                                           Ronald Richards, Esq.
Meylan Davitt Jain Arevian & Kim LLP                     Law Offices of Ronald Richards
444 S. Flower Street, Suite 1850                         & Associates APC
Los Angeles, CA 90071                                    P.O. Box 11480
rkim@mdjalaw.com                                         Beverly Hills, CA 90213
                                                         ron@ronaldrichards.com
Ron Bender, Esq.
Juliet Y. Oh, Esq.
Levene, Neale, Bender, Yoo & Brill LLP
 I 0250 Constellation Blvd., Suite 1700
Los Angeles, CA 90067
rb@lynbyb.com
jyo@lnbyb.com

RE:    NOTICE OF INTENT TO WITHHOLD FINANCIAL ASSISTANCE PAYMENTS
       TO THE SOURCE AT BEACH LLC; RESERVATION OF RIGHTS

Property:      6986 Beach Boulevard, Buena Park, California.
Project:       The Source at Beach; The Source Hotel Project
Agreement:     Disposition and Developer Agreement

Dear Messrs. Donald and Min Chae:

This office serves as City Attorney for the City of Buena Park ("City"), and by this coJTespondence
provides notice of the City's intent to take action to protect its interests in the above-identified
Prope1ty and Project, and to demand that the concerns raised in this letter be expeditiously remediated
to the City's reasonable satisfaction.


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As you know the Source Hotel Project (or simply "Hotel Project") is part of the larger mixed-use
project known as "The Source" Gointly the "Project") that is located at 6986 Beach Boulevard, Buena
Park, California (the "Property"). The Project and the Property are both governed by a series of
agreements with the City or the former Community Redevelopment Agency of the City of Buena
Park ("Former RDA"), the most notable of which is that certain Disposition and Development
Agreement ("DDA") dated October 26, 20 l 0, by and between the Former RDA and The Source at
Beach, LLC ("Developer"). 1

As relevant here, the DDA required Developer to proceed with construction and operation of the
Project, which was required to include a high-quality (Mobil 3-5 Star or AAA 2-5 Diamond-voted)
full-service Hotel Project. To support and incentivize completion of the Project, the Former RDA
agreed to provide two (2) forms of financial assistance to Developer that are memorialized in the
DDA: (1) a portion of the increased property tax revenues resulting from reassessment of the Property
following completion of the Project (also known as "tax increment" revenues); and (2) a portion of
sales tax revenues generated by The Source Gointly "Financial Assistance"). The DDA directs the
property tax payments to be remitted to Developer annually for the next decade; with the sales tax
assistance lasting even longer.

However over recent weeks, the City (which now also serves as "successor agency" to the Former
RDA)2 has learned of events that justify early termination of this Financial Assistance; and in fact the
DDA altogether. Specifically:

    •   Secured lender for the Hotel Project, Shady Bird Lending LLC ("Lender"), filed an action in
        state court (Shady Bird Lending, LLC v. The Source Hotel, LLC; Orange County Superior
        Court Case No. 30-2021-01183489-CU-OR-CJC) against Developer's assignee and lessor of
        the Hotel Project, The Source Hotel LLC ("Hotel LLC). This state court action seeking
        appointment of a receiver and waste in relation to the Hotel Project, and on February 17, 2021,
        the court ordered the appointment of a receiver (the "Receiver") whom remains in place as of
        the date of this letter.

    •    On February 26, 2021, the Hotel LLC filed a Chapter 11 Voluntary Bankruptcy Petition (the
         "Bankruptcy Petition") (United States District Court- Central District of California; Case No.
         8:21-bk-10525-ES) to avoid the Lender's scheduled foreclosure on the Hotel Project, and as
         of the date of this letter this action remains pending.

 Please be advised that appointment of the Receiver, the filing and pendency of the Bankruptcy
 Petition, and any foreclosure by the Lender are all "Defaults" under the DDA giving rise to the City's
·right to terminate both the Financial Payments and the DDA. Key sections of the DDA include the
 following:



1 The DOA is recorded on the Property via a Memorandum thereof dated September 4, 2012 (Instrument No.
2012000530409 in the Official Records of Orange County).
2 All redevelopment agencies in California were dissolved by the Legislature in February 2012, and the City as ..successor

agency" to the Former RDA now manages its rights and affairs. (See Health & Safety Code section 34170 et seq.)


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   •    Section 7.1.6 defines "Defaults " of the DOA as including: "Filing of a petition in bankruptcy
        by or against any Party or appointment of a receiver or trustee of any property of any Party,
        or an assignment by any Party for the benefit of creditors, or adjudication that such Party is
        insolvent by a court, and in the case of a filing against a Partner, the failure of such Party to
        cause the applicable petition, appointment, or assignment to be removed or discharged within
        one hundred and twenty ( 120) days."

    •   Section 4.5 states: "The Agency's [ now the Successor Agency's] obligation to make payments
        of the [Financial Assistance] to Developer shall terminate upon ...a Default by Developer
        under Section 7.1 ... "

    •   Section 7.2 states in relevant part that "the Agency and the City shall ...have the right to
        terminate this Agreement in the event of Default by Developer."

In light of the Receiver and Bankruptcy Petition, and given the unknown future of the Project and
Property or Developer's continued involvement therewith, and the clear language of the DDA quoted
above, the City hereby provides notice that it intends to withhold all future Financial Assistance
payments that otherwise might be paid Developer under the DDA unless and until: (a) Developer
cures these defaults and proceeds with construction of the Hotel Project to the City's reasonable
satisfaction, in which case the withheld and future Financial Assistance payments might be
released on terms acceptable to the City; or (b) the City declares formal default of the DDA and
terminates the Financial Assistance, in which case neither the withheld nor future payments will
be remitted to Developer. The Financial Assistance payments will be held in an interest-bearing
escrow account established and managed by the City pending a decision on if/ how such funds will
be remitted.

The City understands that Developer and Hotel LLC are working to identify financing to complete
the Hotel Project (which has remained partially constructed for the past two (2) years), and ultimately
hopes to restructure existing debt, complete construction, and proceed with operating the Hotel
Project as required by the DDA. But unless and until the City is assured that the Hotel Project will be
completed and operated as required, either by a Developer or a third-party approved in the City's
discretion, the public interest demands that the City withhold the Financial Assistance payments.

Additionally, the City expressly reserves its rights to declare default and terminate the ODA or any
other agreements relating to the Property or Project, and to otherwise seek to enforce its rights
thereunder. Given the City's investment and recorded interests in the Project and Property, the City
will continue to actively monitor the pending legal proceedings, and recommends that Developer and
other interested parties keep the City apprised oftheir activities and intentions moving forward should
they desire the DDA and Financial Assistance to remain in place.




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 Mr. Donald Chae
 Mr. Min Chae
 May 14, 2021
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 Please contact the undersigned should you have any questions or desire to discuss the contents
 of this letter.

 Respe
         ��

 Christopher G. Cardinale, Partner
 ALVAREZ-GLASMAN & COLVJN

 13181 Crossroads Pkwy. North, Suite 400
 City of Industry, CA 91746
 tel 562.699.5500 I lax 562.692.2244
 email ccardinale(@,agclawfirm.com

 cc:     Buena Park City Council
         Aaron France, City Manager




                                                                                     EXHIBIT B 0067
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 333
South Grand Avenue, Suite 3400, Los Angeles, CA 90071.

A true and correct copy of the foregoing document entitled (specify): SHADY BIRD LENDING LLC’S SUPPLEMENTAL
STATEMENT RE (1) MOTION OF SHADY BIRD LENDING, LLC FOR ORDER EXCUSING STATE COURT RECEIVER
FROM TURNOVER OF ASSETS PURSUANT TO 11 U.S.C. § 543, AND (2) MOTION FOR RELIEF FROM THE
AUTOMATIC STAY UNDER 11 U.S.C. § 362 (WITH SUPPORTING DECLARATIONS) (REAL PROPERTY);
DECLARATIONS OF BELLANN R. RAILE AND ANDREW TROST IN SUPPORT THEREOF will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
May 20, 2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

See Attached
                                                                                         Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL:
On (date) May 20, 2021, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

The Honorable Erithe A. Smith
U.S. Bankruptcy Court
Ronald Reagan Federal Building
411 W. Fourth Street, Suite 5040
Santa Ana, CA 92701

                                                                                         Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) May 20, 2021, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

VIA Email
Request for Special Notice
Attorney for City of Buena Park
Christopher G. Cardinale, Esq.
ccardinale@agclawfirm.com

                                                                                         Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 May 20, 2021                              Cheryl Caldwell                                      /s/Cheryl Caldwell
 Date                                      Printed Name                                         Signature

CC 2710485v1 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                     F 9013-3.1.PROOF.SERVICE
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                                                 ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)

Ron Bender on behalf of Debtor The Source Hotel, LLC
rb@lnbyb.com

Christopher G. Cardinale on behalf of Creditor City Of Buena Park
ccardinale@agclawfirm.com

Michael G Fletcher on behalf of Creditor Evertrust bank
mfletcher@frandzel.com, sking@frandzel.com

Amir Gamliel on behalf of Interested Party Courtesy NEF
amir-gamliel-9554@ecf.pacerpro.com, cmallahi@perkinscoie.com;DocketLA@perkinscoie.com

Robert P Goe on behalf of Creditor Westranco, Inc.
kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com

Nancy S Goldenberg on behalf of U.S. Trustee United States Trustee (SA)
nancy.goldenberg@usdoj.gov

Peter F Jazayeri on behalf of Interested Party Cordes & Company, by and through Bellann Raile
peter@jaz-law.com

Peter F Jazayeri on behalf of Other Professional Cordes & Company, by and through Bellann Raile
peter@jaz-law.com

Daniel A Lev on behalf of Creditor Shady Bird Lending, LLC
dlev@sulmeyerlaw.com, ccaldwell@sulmeyerlaw.com;dlev@ecf.inforuptcy.com

Daniel A Lev on behalf of Interested Party Courtesy NEF
dlev@sulmeyerlaw.com, ccaldwell@sulmeyerlaw.com;dlev@ecf.inforuptcy.com

Grant A Nigolian on behalf of Interested Party Courtesy NEF
grant@gnpclaw.com, process@gnpclaw.com;grant.nigolian@gmail.com

Juliet Y Oh on behalf of Debtor The Source Hotel, LLC
jyo@lnbrb.com, jyo@lnbrb.com

Ho-El Park on behalf of Interested Party Courtesy NEF
hpark@hparklaw.com

Ronald N Richards on behalf of Creditor Shady Bird Lending, LLC
ron@ronaldrichards.com, morani@ronaldrichards.com

Ronald N Richards on behalf of Interested Party Courtesy NEF
ron@ronaldrichards.com, morani@ronaldrichards.com

United States Trustee (SA)
ustpregion16.sa.ecf@usdoj.gov




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